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 1   Daniel J. Pochoda (SBA 021979)
     James Duff Lyall (SBA 330045)*
 2   ACLU FOUNDATION OF ARIZONA
     3707 N. 7th Street, Suite 235
 3   Phoenix, AZ 85013
     Telephone: (602) 650-1854
 4   dpochoda@acluaz.org
     jlyall@acluaz.org
 5   *Admitted pursuant to Ariz. Sup. Ct. R. 38(f)
 6   Attorneys for Plaintiffs Robert Gamez, Shawn Jensen,
     Stephen Swartz, Dustin Brislan, Sonia Rodriguez,
 7   Christina Verduzco, Jackie Thomas, Jeremy Smith,
     Victor Parsons, Maryanne Chisholm, Desiree Licci,
 8   Joseph Hefner, Joshua Polson, and Charlotte Wells,
     on behalf of themselves and all others similarly situated
 9
     [ADDITIONAL COUNSEL LISTED ON SIGNATURE PAGE]
10
     Jennifer Alewelt (SBA 027366)
11   Ruth Szanto (SBA 029073)
     ARIZONA CENTER FOR DISABILITY LAW
12   5025 East Washington St. Suite 202
     Phoenix, AZ 85034
13   Telephone (602) 274-6287
     jalewelt@azdisabilitylaw.org
14   rszanto@azdisabilitylaw.org
     Attorneys for Plaintiff Arizona Center for Disability Law
15
                              UNITED STATES DISTRICT COURT
16
                                     DISTRICT OF ARIZONA
17
     Victor Parsons; Shawn Jensen; Stephen Swartz;
18   Dustin Brislan; Sonia Rodriguez; Christina            No.
     Verduzco; Jackie Thomas; Jeremy Smith;
19   Robert Gamez; Maryanne Chisholm; Desiree
     Licci; Joseph Hefner; Joshua Polson; and              CLASS ACTION
20   Charlotte Wells, on behalf of themselves and all
     others similarly situated; and Arizona Center for
21   Disability Law,                                       CLASS ACTION COMPLAINT
                                                           FOR INJUNCTIVE AND
                           Plaintiffs,                     DECLARATORY RELIEF
22
            v.
23
     Charles Ryan, Director, Arizona Department of
24   Corrections; and Richard Pratt, Interim Division
     Director, Division of Health Services, Arizona
25   Department of Corrections, in their official
     capacities,
26
                          Defendants


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 1                                 NATURE OF THE ACTION
 2
            1.      Prisoner Plaintiffs and the Plaintiff Class are housed in Arizona Department
 3
     of Corrections (“ADC”) state prisons, and seek declaratory and injunctive relief against
 4

 5   Charles Ryan and Michael Pratt, (collectively, “Defendants”) in their official capacities.

 6   Prisoner Plaintiffs and the Plaintiff Class are entirely dependent on Defendants for their
 7
     basic health care. However, the system under which Defendants Ryan and Pratt provide
 8
     medical, mental health, and dental care (collectively, “health care”) to prisoners is grossly
 9

10   inadequate and subjects all prisoners to a substantial risk of serious harm, including

11   unnecessary pain and suffering, preventable injury, amputation, disfigurement, and death.
12
     For years, the health care provided by Defendants in Arizona’s prisons has fallen short of
13
     minimum constitutional requirements and failed to meet prisoners’ basic health needs.
14

15   Critically ill prisoners have begged prison officials for treatment, only to be told “be

16   patient,” “it’s all in your head,” or “pray” to be cured. Despite warnings from their own
17
     employees, prisoners and their family members, and advocates about the risk of serious
18
     injury and death to prisoners, Defendants are deliberately indifferent to the substantial risk
19

20   of pain and suffering to prisoners, including deaths, which occur due to Defendants’

21   failure to provide minimally adequate health care, in violation of the Eighth Amendment.
22
     “Just as a prisoner may starve if not fed, he or she may suffer or die if not provided
23
     adequate medical care. A prison that deprives prisoners of basic sustenance, including
24

25   adequate medical care, is incompatible with the concept of human dignity and has no

26   place in civilized society.” Brown v. Plata, 563 U.S. __, 131 S.Ct. 1910, 1928 (2011).


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 1          2.      Arizona prisoners also suffer serious harm and are subject to a substantial
 2
     risk of serious harm as a result of Defendants holding prisoners in isolation in supermax
 3
     Special Management Units (“SMUs”) in cruel and unusual conditions of confinement.
 4

 5   Defendants continue to be deliberately indifferent to the substantial risk of pain and

 6   suffering, including deaths, which occur due to their systemic failure to provide minimally
 7
     adequate conditions to prisoners in isolation, in violation of the Eighth Amendment.
 8
            3.      Plaintiffs seek injunctive relief to compel Defendants to immediately
 9

10   provide prisoner-Plaintiffs and the class members they represent with constitutionally

11   adequate health care and with protection from unconstitutional conditions of confinement.
12
                                           JURISDICTION
13
            4.      This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343. This
14

15   civil action seeks declaratory and injunctive relief under 28 U.S.C. §§1343, 2201, and

16   2202; and 42 U.S.C. § 1983.
17
                                               VENUE
18
            5.      Venue is proper under 28 U.S.C. § 1391(b), because the Defendants reside
19

20   in the District of Arizona, and because a substantial part or all of the events or omissions

21   giving rise to Plaintiffs’ claims occurred in the District of Arizona.
22
                                              PARTIES
23
            Plaintiffs
24

25          6.      Plaintiff Victor Parsons is a prisoner in ADC’s Lewis complex. Mr. Parsons

26   has been diagnosed with Attention Deficit Hyperactivity Disorder (ADHD) with a


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                 CLASS ACTION COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF
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 1   possible history of bipolar disorder. Mr. Parsons has received inadequate mental health
 2
     care, including abrupt stopping and starting of medication, inappropriate medication, and
 3
     delays in follow up appointments. For example, in June 2010, Mr. Parsons’ medications
 4

 5   were suddenly discontinued without explanation. After he began to decompensate and

 6   experience psychiatric symptoms, he submitted an HNR requesting treatment.             Mr.
 7
     Parsons’ medication was abruptly restarted without titrating, placing him at high risk for
 8
     severe side effects. Mr. Parsons has also experienced delays in his dental care. Mr.
 9

10   Parsons filed four HNRs in 2009 complaining that a temporary filling had fallen out of his

11   tooth. Each time he was seen, Parsons was given another temporary filling that would fall
12
     out weeks later, forcing him to restart the process. He was told that the only alternative
13
     was to have his tooth pulled, but he refused. After five months, he finally received a
14

15   permanent filling.

16         7.      Plaintiff Shawn Jensen is a prisoner in ADC’s Tucson complex. Defendants
17
     have failed to provide him with adequate and timely medical care, causing him harm and
18
     permanent injury. Mr. Jensen has a history of prostate cancer. In ADC custody, he
19

20   encountered delays in having the cancer diagnosed and treated and continues to

21   experience harm and injuries caused by Defendants’ inadequate medical care.             In
22
     November 2006, Mr. Jensen was tested with a Prostate Antigen (PSA) Test and found to
23
     have an elevated score of 8.4 and a nodule on the prostate. Once the PSA is over 7, most
24

25   clinicians order a biopsy. A prison doctor referred him for a biopsy in January 2007, but

26   he did not receive the biopsy until October 2009, after his PSA score had risen to 9.3. The


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 1   biopsy revealed he had Stage 2 prostate cancer, an aggressive form, and by February 2010
 2
     his PSA score was 12 and urologists recommended aggressive treatment of the cancer, a
 3
     bone scan to determine the extent of the cancer, and surgery to remove the tumor. Mr.
 4

 5   Jensen experienced gaps as long as two months in getting from the prison pharmacy the

 6   chemotherapy medication that was prescribed for him by outside urologists. He did not
 7
     have the surgery until mid-July 2010. When he returned to prison after the surgery,
 8
     Defendants provided incompetent medical care, and Mr. Jensen suffered harm and
 9

10   permanent injuries due to staff performing medical procedures for which they were not

11   qualified.
12
            8.       Plaintiff Stephen Swartz is a prisoner in ADC’s Lewis complex.           In
13
     February 2010, Mr. Swartz suffered eye injuries and extensive facial fractures as a result
14

15   of an inmate assault. He did not receive timely follow-up with a plastic surgeon or

16   ophthalmologist, but was instead referred to an oral surgeon to treat the facial fractures.
17
     Despite multiple referrals from prison doctors for specialty care, Mr. Swartz did not see an
18
     ophthalmologist until January 2011, almost a year after he was assaulted, and has
19

20   permanent partial paralysis to his face. Mr. Swartz filed numerous HNRs to address

21   untreated neuropathic pain, and repeatedly waited months to learn whether pain
22
     medications would be approved and provided. He continues to report chronic pain. Mr.
23
     Swartz is also diagnosed with bipolar disorder and major depressive disorder, and despite
24

25   multiple incidents of self-harm, has received inadequate mental health care while on

26   suicide watch and in isolation in a SMU. Additionally, Mr. Swartz has had a cracked


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 1   molar for two years. When he went to the dentist for the pain, Mr. Swartz was refused a
 2
     filling and told the only available treatment was to pull the tooth.
 3
            9.       Plaintiff Dustin Brislan is a prisoner in ADC’s Eyman complex, housed in a
 4

 5   SMU.    Mr. Brislan is diagnosed with bipolar disorder, schizoaffective disorder, and

 6   borderline personality disorder, and he has a designation of Serious Mental Illness
 7
     (“SMI”). He engages in severe self-injurious behavior – including cutting, head banging,
 8
     and self-starvation.     As a result of his mental illness, he experiences depression,
 9

10   hallucinations, suicidal ideation, and paranoia. Despite the severity of Mr. Brislan’s

11   condition, Defendants have failed to provide him with minimally adequate mental health
12
     care. Mr. Brislan has received improper medication, and has experienced delays in
13
     receiving and abrupt changes to his medication. Mr. Brislan has not been monitored
14

15   regularly by a psychiatrist, or received therapeutic treatment to address his extreme self-

16   harming behavior. Instead, he has been placed on suicide watch for excessive lengths of
17
     time, where he did not receive adequate treatment and continued to commit repeated acts
18
     of self-harm.
19

20          10.      Plaintiff Sonia Rodriguez is a prisoner in ADC’s Perryville complex. She is

21   designated as SMI, and she experiences depression, anxiety, and hallucinations.
22
     Defendants have failed to provide Ms. Rodriguez with minimally adequate mental health
23
     care, and she has experienced poor medication management, lack of therapeutic treatment,
24

25   and conditions of cruel and inhumane confinement in Perryville’s SMU and on suicide

26   watch. The harsh conditions and extreme isolation of the SMU and on suicide watch have


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 1   worsened her mental conditions.       Ms. Rodriguez has asthma, and has experienced
 2
     multiple asthma attacks and breathing problems due to the ongoing use of pepper spray by
 3
     correctional staff on the women housed in the SMU and in suicide watch. On multiple
 4

 5   occasions, her medications have been abruptly discontinued or changed and her dosage

 6   adjusted without explanation or proper monitoring.       As a result, Ms. Rodriguez has
 7
     suffered severe side effects, including uncontrolled shaking, difficulty speaking, and
 8
     physical “slowing” and lethargy, and a worsening of her mental health symptoms.
 9

10          11.    Plaintiff Christina Verduzco is a prisoner in ADC’s Perryville complex,

11   housed in a SMU. Ms. Verduzco is diagnosed with paranoid schizophrenia, bipolar
12
     disorder, and borderline personality disorder. She experiences a variety of symptoms,
13
     including auditory and visual hallucinations, anxiety, paranoia, and self-harm by cutting
14

15   herself. Defendants have failed to provide her with minimally adequate mental health

16   care. She is confined in isolation in Perryville’s SMU and has been placed on suicide
17
     watch on multiple occasions, most recently in February 2012. While on suicide watch,
18
     Ms. Verduzco is forced to wear a smock that barely comes to the top of her thighs, such
19

20   that her legs and arms are exposed to cold air. While on suicide watch, she has no way to

21   turn out the lights, which are sometimes left on 24 hours a day, and she is subjected to
22
     safety checks every 10 to 30 minutes, where correctional staff wake her up if she is asleep.
23
     As a result, she cannot sleep, which aggravates her condition. Ms. Verduzco has minimal
24

25   human contact, cannot go outside, brush her teeth, or bathe regularly. Outside of suicide

26   watch in the SMU, her experience is similar: extended isolation, limited exercise, and


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 1   limited therapeutic treatment. Ms. Verduzco has asthma, but she has been pepper sprayed
 2
     repeatedly by corrections officers. After being sprayed, she has been dragged out of her
 3
     cell, hosed down, and thrown back into her cell. Ms. Verduzco has been pepper sprayed
 4

 5   so much and so often that she now says she is developing a tolerance to the spray.

 6         12.    Plaintiff Jackie Thomas is a prisoner in ADC’s Eyman complex, housed in a
 7
     SMU. Mr. Thomas has been diagnosed with depression and seizure disorders. Although
 8
     Mr. Thomas did not have suicidal ideation when he first arrived at the SMU, his mental
 9

10   and medical conditions have deteriorated over time as he has experienced prolonged

11   periods of isolation in the SMU. While isolated in the SMU, he has become suicidal and
12
     committed multiple acts of self-harm, has developed insomnia and lost a great deal of
13
     weight. As a result, he has been placed in suicide watch multiple times, where he
14

15   received minimal mental health care. Mr. Thomas has experienced multiple failures in the

16   administration of his mental health care, including improper cessation and initiation of
17
     psychotropic medications, failure to administer prescribed medication, repeated use of
18
     ineffective medications and medications with severe side effects, lack of informed
19

20   consent, and long delays in follow up and psychiatric evaluation. In November 2011, Mr.

21   Thomas overdosed on Diclofenac and did not receive medical attention.
22
           13.    Plaintiff Jeremy Smith is a prisoner in ADC’s Eyman complex, housed in a
23
     SMU. Mr. Smith is diagnosed with depression, a condition aggravated by interruptions in
24

25   his mental health treatment and his prolonged and indefinite incarceration in the SMU.

26   Mr. Smith’s medications have been abruptly discontinued without explanation and


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 1   restarted at inappropriate times, after lengthy delays, and without proper evaluation by a
 2
     psychiatrist. Mr. Smith also has been prescribed powerful medications not indicated for
 3
     depression.   For example, beginning in April 2008, Mr. Smith was given a potent
 4

 5   antipsychotic medication carrying a risk of severe side effects, without first being seen by

 6   the doctor. His file contains no documentation as to why that medication was prescribed
 7
     or any indication that Mr. Smith gave his informed consent to receive it. The impact of
 8
     Mr. Smith’s improper care is compounded by the extreme isolation he experiences in the
 9

10   SMU. Mr. Smith has formally renounced his former gang membership (“debriefed”) and

11   is thus eligible to be placed in a less restrictive setting; however, despite his mental health
12
     condition ADC refuses to transfer him out of the SMU.
13
            14.    Plaintiff Robert Gamez is a prisoner in ADC’s Eyman complex, housed in a
14

15   SMU.     Mr. Gamez suffered a childhood head injury and has been diagnosed with

16   borderline IQ, possible Post-Traumatic Stress Disorder (PTSD), and possible frontal lobe
17
     dysfunction, symptoms of which include major depression, panic and anxiety. Although
18
     Mr. Gamez displays symptoms consistent with frontal lobe dysfunction and an initial
19

20   screen was positive, ADC never conducted follow up tests to confirm his diagnosis. Mr.

21   Gamez has experienced multiple interruptions in care, including delays in responses to his
22
     Health Needs Requests (“HNRs”), delays in receiving and abrupt changes to his
23
     medication, receiving improper medication, inadequate monitoring and follow up visits,
24

25   and a lack of psychological services for pronounced mental health deterioration during his

26   prolonged isolation in the SMU. For example, beginning in August 2009, Mr. Gamez


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 1   submitted multiple HNRs describing symptoms of paranoia, anxiety, panic, and psychosis,
 2
     and asking to be taken off his medications and out of isolation. Despite experiencing
 3
     acute symptoms, Mr. Gamez was not seen for five months. Mr. Gamez’s care was
 4

 5   managed by a nurse practitioner, and he was not seen by a psychiatrist from 2007 to 2011

 6   despite referrals from staff, multiple HNRs and deteriorating mental and physical health.
 7
            15.    Plaintiff Maryanne Chisholm is a prisoner in ADC’s Perryville complex.
 8
     Ms. Chisholm has been diagnosed with hypertension, but was not referred to a
 9

10   cardiologist for eight months, despite experiencing chest pains and shortness of breath.

11   Ms. Chisholm has been diagnosed with bipolar disorder, Obsessive Compulsive Disorder,
12
     and depressive disorder. She has experienced significant delays and interruptions in
13
     medication delivery and psychiatric care and follow-up, which have contributed to
14

15   worsening symptoms. In April 2011, Ms. Chisholm reported experiencing a nervous

16   breakdown and requested an adjustment of medication; however, she was not seen by a
17
     psychiatrist for one month and did not receive a follow up appointment as scheduled. Ms.
18
     Chisholm’s mental health has also been adversely impacted by custodial harassment.
19

20   Shortly after first meeting with Plaintiffs’ counsel in October 2011, Ms. Chisholm was

21   subjected to three aggressive room searches in as many weeks. When she asked for an
22
     explanation Ms. Chisholm was told that she was “causing problems.” In February 2012,
23
     staff again searched her cell three separate times, and confiscated a book of art and her art
24

25   supplies, which Ms. Chisholm relies on to manage her mental health symptoms. The art

26   supplies were taken because she had painted a shelf in her cell without permission – in


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 1   2008. She also has a broken tooth and another tooth with a missing crown. The dentist
 2
     told her the only available treatment was to pull her teeth, which she has refused.
 3
            16.    Plaintiff Desiree Licci is an inmate in ADC’s Perryville complex. Ms. Licci
 4

 5   has a family history of cancer and was herself treated for cancer ten years ago. In 2010

 6   she observed multiple masses growing on her breasts, mouth, and arms, and reported
 7
     discomfort in her cervix. Starting in December 2010, Ms. Licci requested testing, and in
 8
     April 2011 the prison doctor referred her to an oncologist. However, she has still not seen
 9

10   an oncologist and was not sent for a CT scan until September 2011. In the interim, Ms.

11   Licci began experiencing frequent diarrhea, nausea, exhaustion, weight loss, pain, and
12
     other alarming symptoms.       The CT scan detected multiple masses in Ms. Licci’s
13
     reproductive organs and biopsies and a colonoscopy were ordered. Still, the Perryville
14

15   gynecologist insisted that nothing was wrong with her reproductive organs. Ms. Licci did

16   not receive an MRI until December 2011, and it was not properly administered. Ms. Licci
17
     had to submit a grievance and wait another month before receiving a second MRI, which
18
     confirmed multiple masses on both ovaries.         In January 2012, Ms. Licci asked the
19

20   Perryville Facility Health Administrator (FHA) why she still had not seen an oncologist

21   approximately eight months after being referred by the prison doctor. The FHA told Ms.
22
     Licci the oncologist refused to see her without her complete file and that ADC “didn’t
23
     have” Volume I of her file. However, ADC has Ms. Licci’s complete file, as it was
24

25   produced to Plaintiffs’ counsel in January 2012. Additionally, Ms. Licci has a Port-a-cath

26   implanted in her chest; however, nothing in her file indicates whether or not it was


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 1   properly flushed by medical staff prior to November 2011.
 2
            17.   Plaintiff Joseph Hefner is a prisoner in ADC’s Lewis complex. Mr. Hefner
 3
     has impaired vision and experiences eye pain as a result of Defendants’ failure to provide
 4

 5   him with minimally adequate health care. In 2006, Mr. Hefner’s vision deteriorated

 6   rapidly after an ADC nurse gave him expired eye drops. In 2006, and again in 2008, Mr.
 7
     Hefner did not timely receive doctor-prescribed eye medication following eye surgery.
 8
     Although he has submitted numerous HNRs for recurrent eye pain and twice been referred
 9

10   by an optometrist to see an ophthalmologist, Mr. Hefner has been waiting to see an

11   ophthalmologist for over three years. In March 2011, Mr. Hefner was hospitalized for
12
     injuries sustained in a prison altercation. His outside medical records were not requested
13
     by the prison physician until three months later, after Mr. Hefner submitted multiple
14

15   HNRs describing persistent pain and requesting treatment.       The records were never

16   reviewed. A CT scan was not done until October 2011, seven months after Mr. Hefner’s
17
     injury. Mr. Hefner also has chronic gastroesophageal reflux disease (GERD) but his
18
     requests for a medical diet have been denied.
19

20          18.   Plaintiff Joshua Polson is a prisoner in ADC’s Eyman complex, housed in a

21   SMU.    Mr. Polson has been diagnosed with bipolar disorder, mood disorder, and
22
     psychosis. He experiences mood swings, hallucinations, paranoia, and depression, all of
23
     which are caused or worsened as a result of Defendants’ failure to provide him with
24

25   minimally adequate mental health care. Mr. Polson has a family history of suicide and he

26   has attempted suicide three times. Nonetheless, he is incarcerated in isolation, where he


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 1   has minimal human contact, which results in increased suicidal ideation.              He has
 2
     experienced repeated gaps in his medication and sporadic monitoring of his medication
 3
     levels. Additionally, Mr. Polson experiences chronic ear infections and has permanent
 4

 5   hearing loss in his right ear following significant delays in care, including delays in seeing

 6   a physician, delays in follow-up appointments, and delays in referrals to outside
 7
     specialists. After losing hearing in his right ear, Mr. Polson submitted multiple HNRs for
 8
     chronic pain in his left ear, but was not evaluated by a doctor for over a month. Mr.
 9

10   Polson also experienced multiple problems with his dental care. He had long delays in

11   treatment for teeth that were broken, and waited three years to receive partial dentures for
12
     many missing teeth. Mr. Polson filed a request to see the dentist about a front tooth that
13
     had broken off and was causing him a great deal of pain. He was told in response that he
14

15   was requesting routine care, and he had to wait five months to see the dentist. The

16   remaining portion of the tooth was not extracted until a year after it broke off.
17
            19.    Plaintiff Charlotte Wells is a prisoner in ADC’s Perryville complex. Ms.
18
     Wells has a history of heart disease and high blood pressure, and suffered a heart attack
19

20   prior to being incarcerated. She arrived to ADC custody in October 2009 complaining of

21   chronic chest pains, and continued to experience dizziness and high blood pressure but
22
     was not evaluated by a cardiologist until she was hospitalized four months later for a
23
     blocked artery. Ms. Wells received a stent, but two days after returning to Perryville she
24

25   again reported chest pains. Ms. Wells was not seen by a doctor or returned to the hospital,

26   despite her history and the high risk of arterial clogging and heart attack immediately


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 1   following the placement of a stent. She experienced chest pain and high blood pressure,
 2
     for which she was repeatedly evaluated not by an outside cardiologist but rather by the
 3
     Perryville gynecologist. Ms. Wells continues to have problems with her blood pressure
 4

 5   and intermittent chest pain. Additionally, Ms. Wells experienced broken fillings in two of

 6   her teeth in 2010. She complained of pain and requested the fillings be repaired, but was
 7
     told the only option was to have the teeth pulled, or submit a HNR and wait months to
 8
     have the fillings approved. She did this, and endured pain for several months before her
 9

10   filings were replaced; however, when she got the filling, the dentist cracked an adjacent

11   tooth. Again, she was told she could have the tooth pulled, or to submit another HNR and
12
     wait for a filling. She has waited since November 2011 for repair to the damaged tooth.
13
            20.    Plaintiff Arizona Center for Disability Law (“ACDL”) is designated as
14

15   Arizona’s authorized protection and advocacy agency under the Protection and Advocacy

16   for Individuals with Mental Illness Act (“PAIMI”), 42 U.S.C. § 10801, et. seq. ACDL has
17
     statutory authority to pursue legal, administrative, and other appropriate remedies to
18
     ensure the protection of individuals with mental illness who are or will be receiving care
19

20   and treatment in the State of Arizona. 42 U.S.C. § 10805(a)(1). ACDL is pursuing this

21   action to protect and advocate for the rights and interests of prisoners who are “individuals
22
     with mental illness” as that term is defined in 42 U.S.C. § 10802. The interests that ACDL
23
     seeks to vindicate by bringing this lawsuit – the protection of the rights of individuals with
24

25   mental illness – are central to ACDL’s purpose.

26          Defendants


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 1           21.   Defendant Charles Ryan is the Director of the ADC, and he is sued herein in
 2
     his official capacity. As the Director of the ADC, Mr. Ryan is responsible for establishing,
 3
     monitoring, and enforcing overall operations, policies, and practices of the Arizona state
 4

 5   prison system, which includes the provision of constitutionally adequate medical, mental

 6   health, and dental care for all prisoners committed to the custody of ADC. A.R.S. §§ 31-
 7
     201, 41-1604 (A), 41-1608.         As Director, Mr. Ryan is responsible for decisions
 8
     concerning staff hiring, supervision, deployment, and training that directly affect
 9

10   prisoners’ abilities to obtain adequate and necessary health services. He is responsible for

11   providing constitutional conditions of confinement in all units, including but not limited to
12
     isolation units. At all times relevant hereto, he has acted under color of state law.
13
             22.   Defendant Richard Pratt, P.A., 1 is the Interim Division Director of the
14

15   Health Services Division of the ADC and is sued in his official capacity. As Division

16   Director, Mr. Pratt is responsible for establishing, monitoring, and enforcing system-wide
17
     health care policies and practices. He is responsible for supervising the provision of
18
     adequate medical, mental health, and dental care for all prisoners within the custody of the
19

20   department, including but not limited to isolation units. At all times relevant hereto, he

21   has acted under color of state law.
22
                                    FACTUAL ALLEGATIONS
23
     1
       Mr. Pratt’s Physician Assistant license (#2342) with the Arizona Regulatory Board of
24
     Physician Assistants expired on Oct. 1, 2004 and has not been renewed as of the date of
25   this filing. Mr. Pratt recently replaced Michael Adu-Tutu, D.D.S., as Division Director of
     Health Services. Plaintiffs’ allegations refer to Defendant Pratt because he is the current
26   Division Director, and notwithstanding that the majority of acts and omissions described
     herein occurred during the tenure of Mr. Pratt’s predecessor, Dr. Adu-Tutu.

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 1           23.   Defendants promise prisoners through written policies to provide sufficient
 2
     resources to provide the “community standard of health care,” but fall far below that
 3
     measure. ADC Dept. Order 1101.01, 1.1. Defendants’ written policies are more honored
 4

 5   in the breach than in the observance, leaving prisoners at the mercy of de facto policies

 6   that put their lives and health at risk. 2 Defendants are well aware of severe system-wide
 7
     deficiencies that have caused and continue to cause significant harm to the prisoners in
 8
     their custody, yet they have failed to take reasonable measures to abate the impermissible
 9

10   risk of harm. In recent years, Defendants ignored repeated warnings of the inadequacies

11   of the health care system and of the dangerous conditions in their isolation units that they
12
     received from inmate grievances, reports from outside groups, and complaints from prison
13
     personnel, including their own staff. For example, in December 2009, a prison physician
14

15   emailed Defendant Ryan complaining that ADC officials were breaking the law by not

16   providing adequate health care. James Baird, M.D., the Director of Medical Services,
17
     responded on behalf of Defendant Ryan and stated, “[t]he Department has not been found,
18
     as yet, to be deliberately indifferent. … Is the Department being deliberately indifferent?
19

20   Maybe. Probably. That would be up to a Federal Judge to decide. I do think that there

21   would be numerous experts in the field that would opine that deliberate indifference has
22
     occurred.”
23
             24.   The Deputy Medical Director for Psychiatry at the Eyman prison warned
24

25   Defendant Ryan and Defendant Pratt’s predecessor as Health Services Director, Michael

26   2
      As used hereafter, “policy and practice” includes unwritten policies, customs, and actual
     practices of Defendants.

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 1   Adu-Tutu, D.D.S., in a series of emails in the fall of 2009 that prisoners “are not receiving
 2
     a reasonable level of psychiatric care. We are out of compliance with our own policies
 3
     regarding minimum frequency of contact with a provider, as well as community standards
 4

 5   for adequate care. The lack of treatment represents an escalating danger to the community,

 6   the staff and the inmates.”
 7
            25.    On October 12, 2011, counsel for Plaintiffs submitted a 21-page demand
 8
     letter to Defendant Ryan, describing numerous systemic problems in the health care
 9

10   system and isolation units operated by Defendants, and detailing multiple examples of

11   harm and injuries to prisoners resulting from these inadequate policies and practices.
12
     Defendant Ryan initially responded by requesting three months to investigate these
13
     problems. In the subsequent months, counsel for Plaintiffs continued to notify Defendants
14

15   of individual prisoners asking for immediate attention to health care problems. However,

16   as of this date, Defendant Ryan has not provided any substantive response to the issues
17
     raised in the letter other than to say that he did not think the ADC health care system had
18
     any systemic problems.
19

20   I. Defendants Deprive Plaintiffs of Constitutionally Adequate Health Care in
        Violation of the Eighth Amendment
21
            26.    Plaintiffs and the Plaintiff class allege the following. Defendants Ryan and
22

23   Pratt have a policy and practice of failing to provide prisoners with adequate health care,

24   and are deliberately indifferent to the fact that the systemic failure to do so results in
25
     significant injury and a substantial risk of serious harm.
26



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 1      A. Prisoners Face Lengthy and Dangerous Delays in Receiving and Outright
           Denials of Health Care
 2

 3          27.    Defendants have a policy and practice of failing to provide timely access to

 4   health care and are deliberately indifferent to the risk of harm and injury to prisoners that
 5
     results from this systemic failure. To request health care, prisoners must submit a HNR
 6
     form, describing the need for medical, dental, or mental health attention, regardless of
 7

 8   whether they have informed medical staff about their symptoms. Prisoners face numerous

 9   barriers in submitting this required form: oftentimes, there are no HNR forms in living
10
     units; staff give prisoners photocopies of HNR forms that are later rejected for not being
11
     originals; correctional officers refuse to provide forms to prisoners or discourage them
12

13   from filing them; and officers read completed HNRs and tell prisoners they are not sick,

14   and refuse to accept or forward the HNR to health care personnel.
15
            28.    In addition, officers sometimes prohibit prisoners from assisting fellow
16
     inmates in completing HNRs, even though the officers are aware that this prevents some
17

18   prisoners from filing requests. This prohibition also harms prisoners who are acutely ill,

19   experiencing severe mental health problems, vision-impaired, developmentally disabled,
20
     illiterate, have injuries or permanent disabilities that make it difficult to write, or are
21
     otherwise unable to fill out the forms, especially because staff members will not provide
22

23   assistance. For example, Plaintiff Smith has an injury to his hand that prevents him from

24   writing. He asked officers to assist him in completing the HNRs, but the officers stated
25
     they were prohibited by ADC policy from helping him.
26
            29.    In addition to restricting the ability of prisoners to request health care,

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 1   Defendants have a policy and practice of failing to provide care after receiving notice of
 2
     prisoners’ needs, and are deliberately indifferent to the harm that results. Even if the
 3
     completed HNR is forwarded to health care staff, it is not processed in a timely manner,
 4

 5   so prisoners have to file multiple HNRs and face long delays of many weeks and often

 6   months before they receive medicine or are examined by qualified clinicians, and
 7
     experience harm and unnecessary pain and suffering as a result.
 8
            30.    Oftentimes, medical staff members respond to a HNR stating only that the
 9

10   prisoner is on a waiting list to see a physician, dentist, psychiatrist, or outside specialist,

11   even in response to HNRs alleging serious injuries that require immediate action.
12
     Plaintiffs Hefner, Gamez, and Swartz have received responses telling them to “be patient”
13
     to HNRs alleging serious pain or injuries. Plaintiff Licci was told by the Perryville
14

15   Facility Health Administrator (FHA) that she was “hindering [her] own care” by filing

16   grievances and HNRs about not seeing an outside specialist about numerous suspicious
17
     masses on her reproductive organs. Plaintiff Verduzco, who has a history of self-harm
18
     and multiple suicide attempts, filed a HNR reporting headaches, that she was experiencing
19

20   auditory hallucinations, and that she needed help with her psychotropic medication,

21   begging, “I’m scarde [sic]. Confused.” She received a written response three days later,
22
     stating “You will be put on the waiting list to be seen.” A prisoner who had a stent
23
     implanted at an outside hospital in August 2011 after a heart attack was ordered by the
24

25   surgeon to see a cardiologist within a month. The prisoner has filed multiple HNRs

26   asking to be referred to a cardiologist, but the most recent response he received to his


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 1   HNR in January 2012 was “Medical aware. Please be patient. Thanks.” Another prisoner
 2
     with major disabilities and multiple chronic medical problems received a response to one
 3
     HNR stating, “due to the fact that the provider has to see a large amount of inmates, the
 4

 5   number of issues addressed per inmate will be limited to one main issue.” He was told in

 6   a different response that he “must learn to accept and live with [the] reality” of pain and
 7
     discomfort. A staff member told a prisoner who filed multiple HNRs over a two-month
 8
     period for untreated high blood pressure, seeing stars, and having problems getting out of
 9

10   bed, that a two month wait for medical care is acceptable, and that he should “pray” for

11   his health issues to be cured.
12
            31.    Defendants have been warned repeatedly about these unreasonable delays in
13
     access to health care. In April 2009, a physician at the Eyman complex sent an email
14

15   entitled “Deficient access to care, Risk exposure” to Defendant Pratt’s predecessor as

16   Health Services Director, Dr. Adu-Tutu, and other prison officials, noting it took prisoners
17
     “about 6 weeks to be seen” after the medical department receives a HNR, and that the
18
     situation was a “multi car accident waiting to happen.” The delays have only grown
19

20   worse: in February 2011 a Perryville psychiatrist warned Dr. Ben Shaw, the Director of

21   Mental Health Services who reports to Defendant Pratt, that “we are backed up 3-4
22
     months with the HNRs and longer for regular follow-ups.”
23
            32.    Lengthy delays in responding to HNRs and providing necessary health care
24

25   are the system-wide norm, as reflected in countless examples. Plaintiff Hefner filed

26   multiple HNRs in the spring of 2011 about pain and injuries to his ribs and torso after an


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 1   attack, but was not seen by a doctor for three months. Plaintiff Polson has recurrent ear
 2
     infections, but when he has them he must file multiple HNRs and wait anywhere from
 3
     three to six weeks to be seen and given antibiotics or ear drops.
 4

 5          33.    This failure to timely respond to HNRs is compounded by Defendants’

 6   failure to create an effective tracking and scheduling system for health care appointments
 7
     or of prisoners’ medical records. There also are no standardized protocols or timeframes
 8
     dictating deadlines by which a prisoner requesting care must receive a face-to-face
 9

10   appointment with a nurse, doctor, or other clinician. As a result, inadequately-trained

11   lower-level staff triage the HNRs and decide whether to schedule an examination, without
12
     sufficient information.
13
            34.    The harm from the delays in care is aggravated by Defendants’ policy and
14

15   practice of having ADC clinicians make treatment decisions without examining prisoners,

16   instead relying on brief notes or descriptions from lower-level medical assistants and even
17
     correctional officers who have no medical training. In the unsupervised gatekeeping role
18
     Defendants force on them, these lower level medical and custody staff often do not
19

20   recognize or acknowledge the symptoms a patient displays until the condition has become

21   so acute as to be life threatening or results in permanent injury. For example, Plaintiff
22
     Polson had chronic ear infections for months that were not being cured with basic
23
     antibiotics. During that time, he was only seen by a Licensed Practical Nurse (LPN) or
24

25   medical assistant who would consult with a doctor over the phone; the physician would

26   not physically examine him. He had blood oozing out of his ear after multiple ear


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 1   infections, but was told by a physicians’ assistant and a LPN that it was just a scratch.
 2
     Due to Mr. Polson’s recurrent untreatable infections and a prior diagnosis of the
 3
     particularly antibiotic-resistant methicillin-resistant staphylococcus aureus (“MRSA”), the
 4

 5   minimum standard of care requires the physician to personally examine Mr. Polson and

 6   culture his ear to make sure a different medicine would work. This was not done, and Mr.
 7
     Polson suffered permanent hearing loss.
 8
           35.    Plaintiff Hefner has a complicated ophthalmological history including
 9

10   surgery for glaucoma and cataracts, and experiences iritis (recurrent inflammation of the

11   iris) after being given expired eye drops by a prison nurse in 2006. He submitted seven
12
     HNRs for eye pain and problems between August 2009 and October 2011. Because
13
     HNRs are not reviewed by a physician or clinical staff member, the staff who review the
14

15   HNRs have repeatedly chosen to triage his request by placing him on a waitlist to see an

16   optometrist, rather than an ophthalmologist. As of January 2012, he still had not yet seen
17
     an ophthalmologist, despite twice being referred by the optometrist.
18
           36.    Defendants also have a policy and practice of relying on unqualified
19

20   personnel to perform medical procedures for which they are unqualified, with horrific

21   results. For example, Plaintiff Jensen had prostate cancer surgery in July 2010 and
22
     returned to the Tucson prison with an internal Foley catheter connecting his bladder to his
23
     urethra through the bladder neck. The catheter was to stay in place for three weeks and be
24

25   removed only by the outside urologist or surgeon. Two weeks after his return, the

26   catheter began to leak urine. Mr. Jensen submitted two HNRs but was not seen until 48


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 1   hours later by a nurse who said he could wait until his scheduled follow-up appointment.
 2
     The next day, still experiencing pain and leaking urine, he was seen by a nursing assistant
 3
     (“NA”) who requested a doctor’s order to irrigate the Foley catheter. The physician did
 4

 5   not examine Mr. Jensen before authorizing the procedure. When the NA attempted to

 6   irrigate Mr. Jensen’s catheter, she instead shoved it deeper inside him and twisted it 180
 7
     degrees, causing excruciating pain. The improper manipulation of the catheter tore out his
 8
     internal stitches, and the catheter ended up outside his bladder, lying freely in his
 9

10   abdomen, such that urine drained from his torn bladder directly into his abdominal cavity.

11   Despite Mr. Jensen’s excruciating pain, and the absence of urine, he was not taken to the
12
     ER or to see an outside specialist until his previously scheduled follow-up appointment
13
     three days later, at which point the outside clinicians rushed him to the operating room for
14

15   emergency surgery. As a result of the injuries sustained during the NA’s attempt to

16   irrigate the catheter, he has required multiple follow up surgeries to repair the bladder,
17
     remove scar tissue, and treat infections. In February 2012, Mr. Jensen was told by an
18
     outside urologist that he needed surgery to replace his irreparably destroyed bladder.
19

20      B. Defendants Do Not Provide Prisoners With Timely Emergency Treatment

21          37.    Defendants Ryan and Pratt have a policy and practice of not providing

22   prisoners with timely emergency responses and treatment, and do not have an adequate
23
     system for responding to health care emergencies.
24
            38.    There is not an adequate number of on-duty health care staff to respond to
25

26   possible emergencies. For example, the Tucson complex’s Whetstone Unit, designated



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 1   for prisoners with the gravest and most complex medical needs, does not have clinical
 2
     staff on duty between the hours of 6 pm and 6 am.
 3
            39.    Defendants have not adequately trained security and health care staff on
 4

 5   how to handle health care emergencies, and as a result of this failure to respond properly

 6   and timely to emergencies, prisoners suffer avoidable harm and injuries, including
 7
     unnecessary deaths. While trained in basic first aid, correctional officers are not trained to
 8
     evaluate medical situations. Yet correctional staff act as gatekeepers, making critical
 9

10   decisions about whether emergency care is warranted. In July 2010, correctional officers

11   at the Tucson prison stood by and watched a severely mentally ill prisoner named Tony
12
     Lester bleed to death after his second suicide attempt. Mr. Lester, who had paranoid
13
     schizophrenia, multiple personality disorder, and auditory hallucinations, had been taken
14

15   off suicide watch, taken off his medications, and housed in the general population, where

16   he was given a hygiene kit that included a razor. He used the razor blade to slit his throat,
17
     groin, and wrists, and he wrote the word “VOICES” in his blood on an envelope. An
18
     ADC internal investigation found that the four responding officers stood by and did not
19

20   administer any basic first aid.     One officer told investigators he didn’t want to be

21   “wallowing through” Mr. Lester’s blood, and another said his limited training did not
22
     teach him how to stop bleeding. When an internal investigator asked one officer, “So you
23
     guys just stood around for 23 minutes and watched this guy bleed to death?”, the officer
24

25   stated that his response was to call Mr. Lester’s name and to try to elicit a reaction.

26          40.    In October 2011, a prisoner at the Eyman prison collapsed in his living unit


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 1   from a heart attack. Other prisoners yelled for security staff to contact medical staff.
 2
     Officers told the prisoners to “wait and see what happens,” and did not summon help or
 3
     provide assistance to the stricken prisoner. In desperation, another inmate checked the
 4

 5   prisoner’s pulse, and finding none, began to perform CPR. After a few minutes, the

 6   prisoner began breathing again. Only then did officers summon medical staff. Three
 7
     hours later, the prisoner was sent from the medical unit back to his living unit and told he
 8
     had a medical appointment in a few days. The prisoner had another heart attack the next
 9

10   day and died. After his death, the prisoner who saved his life after the first heart attack by

11   performing CPR was issued a disciplinary write-up for violating a rule that prisoners may
12
     not perform medical procedures on other inmates.
13
            41.    It is not only correctional staff that lack necessary training in responding to
14

15   emergency situations. Lower level medical staff, who serve as the first line of response to

16   prisoners’ requests for medical assistance, often do not recognize when a prisoner is
17
     experiencing an emergency. In September 2011, Plaintiff Swartz swallowed a metal
18
     spring and copper wire, and told medical staff he had done so. The mental health staff
19

20   members did not believe him and joked about how they would need to cut him open.

21   They had him screened with a metal detector or metal wand, and told him he would have
22
     to wait to pass the pieces of metal. Using a metal detector to detect the presence of
23
     objects in adults does not comport with the appropriate standard of care, which requires
24

25   physicians to obtain X-rays and/or CT scans to determine the location of the object, and to

26   emergently remove sharp objects from the esophagus, stomach, or small intestine via


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 1   endoscopy. Mr. Swartz had an X-ray the following day, after he swallowed yet another
 2
     object, this time a sharpened paper clip. The X-ray revealed multiple pieces of metal in
 3
     his stomach, including the spring and paper clip, but the prison doctor did not refer him
 4

 5   for an endoscopy, and instead told Mr. Swartz he would have to pass the objects, which he

 6   did painfully several weeks later. Ignoring sharp ingested objects puts a patient at risk for
 7
     perforation of internal organs and death.
 8
            42.    In another example, in May 2011, a prisoner who was four months pregnant
 9

10   began experiencing painful contractions and spotting blood, and went to Perryville’s

11   medical unit. The staff person on duty told her it was nothing serious, that her problems
12
     were “all in your head,” and that she could not see a clinician for evaluation or treatment.
13
     She was sent back to her living unit, and she continued to experience great pain and
14

15   cramping for an hour and a half, until she miscarried.

16          43.    Even when properly responding to an emergency, medical staff face barriers
17
     to providing timely emergency assistance. For example, a prisoner in the Yuma prison has
18
     three to four seizures per week because he does not regularly receive epilepsy medication.
19

20   He regularly encounters delays in the emergency response during his seizures because of

21   the configuration of his living unit – the entrance door is 34 inches wide, and facing the
22
     entrance is a wall approximately four feet high. As a result, medical staff cannot get a
23
     gurney through the doorway without spending critical time contorting the gurney through
24

25   the door and around the wall. Other prisoners or officers must help lift the gurney over

26   the wall, or drag the convulsing prisoner to the door of the unit.


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 1      C. Defendants Fail to Provide Necessary Medication and Medical Devices to
           Prisoners
 2

 3         44.    Defendants have a policy and practice of failing to prescribe, provide, and

 4   properly manage medication, or of only providing incorrect, interrupted, or incomplete
 5
     dosages of medication. Defendants also have a policy and practice of failing to provide
 6
     necessary medical devices and supplies.      Prisoners experience delays and gaps in
 7

 8   receiving medicine or supplies, including those prescribed by outside doctors. Delays and

 9   gaps also occur when prisoners transfer from one ADC prison to another. Prisoners face
10
     abrupt discontinuation of their medications for weeks or months, before being seen by a
11
     new provider. For example, Plaintiff Swartz was transferred in December 2011 from
12

13   Phoenix to Lewis, but had to file multiple HNRs and wait several weeks before he began

14   receiving the psychotropic medications prescribed by Phoenix physicians.
15
           45.    Defendants have a policy and practice of not providing prisoners with the
16
     full course of their medication, not providing prisoners medication as prescribed or in a
17

18   timely fashion, and inappropriately starting and stopping medication.       As a result,

19   prisoners suffer unnecessary harm, and in the cases of prisoners with psychotic and mood
20
     disorders, suffer withdrawal symptoms and the recurrence of symptoms such as
21
     hallucinations and suicidal ideation. For example, Plaintiff Parsons’ medications were
22

23   abruptly discontinued without any clinical explanation and he was not seen for his

24   resulting psychiatric problems for two weeks. At that point he was prescribed an entirely
25
     different medication.
26
           46.    Psychotropic medications that are to be taken daily regularly go

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 1   undelivered, without explanation or warning.        Plaintiff Gamez has had medications
 2
     abruptly started, stopped and restarted, including a potent antipsychotic medication.
 3
     Plaintiff Rodriguez was switched multiple times from Risperdal to Haldol to treat her
 4

 5   psychosis, but with no documented explanation for the changes, and with a more rapid

 6   titrating on and tapering off the medications than is consistent with the therapeutic
 7
     indications of use.
 8
            47.    Prisoners also are given expired medication or incorrect dosages of
 9

10   medication, resulting in harm. When Plaintiff Hefner originally suffered his eye injury, a

11   nurse at the Safford prison gave him eye medication that had expired more than three
12
     months previously. When he used the medication, his vision dramatically worsened, and
13
     he developed iritis. A prisoner at the Tucson complex was given the incorrect dosage of
14

15   medication to treat his seizures in September 2011. He suffered a stroke, and despite

16   pleas for help from his fellow inmates, waited more than a day before medical staff saw
17
     him and referred him to an outside hospital’s Intensive Care Unit. Now, due to the stroke,
18
     he slurs his speech, has difficulty walking and relies on a wheelchair, and is incontinent.
19

20          48.    Defendants have a policy and practice of only providing medicine listed on

21   a limited formulary of approved medication, and routinely substitute doctor-approved
22
     drug regimens with drugs on the ADC-approved formulary. As a result of this policy and
23
     practice, prisoners are deprived of medications that are well-established as effective for
24

25   their health conditions, and receive inferior, ineffective, or obsolete medications, or

26   nothing at all. For example, when Plaintiff Brislan was incarcerated, mental health staff


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 1   discontinued his prior, effective medications because they were not listed on the
 2
     formulary. Instead, he was prescribed Buspar, an older anti-anxiety medication, even
 3
     though he told the nurse it had not worked for him in the past. His mental health
 4

 5   symptoms continued to worsen while on Buspar. Plaintiff Parsons was given a potent

 6   antipsychotic medication for hyperactivity, a condition for which the drug is not normally
 7
     prescribed, and had other psychiatric medications discontinued several times. On multiple
 8
     occasions, Plaintiff Gamez was prescribed antipsychotic and anti-epileptic medications
 9

10   such as Thorazine and Tegretol for off-label treatment of irritability and mood disorder

11   caused by a childhood traumatic brain injury, even though there are other drugs that are
12
     more effective for treating these symptoms, with fewer side effects.
13
           49.    According to the 2011 deposition testimony of one of ADC’s doctors, the
14

15   prescription of non-formulary medication is frequently subject to delay and erroneous

16   denial. ADC policies restricting these prescriptions result in multiple requests by prison
17
     doctors over months until an ad-hoc committee of medical and administrative staff at
18
     ADC’s central office reviews the request. As a result, prisoners experience delays in
19

20   treatment and unnecessary harm. For example, Plaintiff Swartz went for more than six

21   weeks without medication for pain from his serious injuries and broken facial bones from
22
     an assault, while awaiting central office approval of the physician’s prescription for
23
     Tramadol. However, he was not prescribed a different pain medication on the formulary
24

25   list pending the approval of Tramadol. Without the medication, he experienced intense

26   pain and had problems eating.


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 1          50.    Defendants have a policy and practice of not providing medically necessary
 2
     devices, thus depriving these prisoners of basic sanitation. Plaintiff Jensen and other
 3
     prisoners who need catheters are given fewer clean catheters than they need, and thus
 4

 5   have to re-use the catheters, putting them at risk of bladder and urinary tract infections.

 6   Plaintiff Jensen has repeatedly not been provided an adequate number of catheters, and at
 7
     times has had to rely on his wife to order and pay for the catheters, and have them
 8
     delivered to the prison. Prisoners who need incontinence briefs or wipes often go without
 9

10   them, or are told they only are allowed one diaper per day. As with Plaintiff Jensen,

11   prisoners fortunate enough to have the assistance of family members often rely on them to
12
     obtain toileting supplies and have them delivered to the prison.
13
        D. Defendants Employ Insufficient Health Care Staff
14
            51.    Many of the severe deficiencies in ADC’s health care system are caused by
15

16   Defendants’ failure to employ sufficient health care staff positions to provide adequate

17   health care to prisoners. There are simply insufficient medical, dental, and mental health
18
     clinicians (i.e. physicians, psychiatrists, dentists, physicians’ assistants, registered nurses,
19
     and other qualified clinicians) on staff to meet the significant and documented health care
20

21   needs of the almost 33,100 prisoners in ADC custody.

22          52.    As an ADC doctor at the Florence prison testified in September 2011, “we
23
     are chronically and consistently understaffed.” The same doctor had previously noted this
24
     problem in an email to prison staff, stating that “[s]omething bad is going to happen
25

26   sometime” and pleading for help. In an email to Defendant Pratt’s predecessor, Dr. Adu-



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 1   Tutu, and other administrative and medical officials, this same physician noted that “[w]e
 2
     just don’t have the man power to do our assigned duties,” are “unable to meet our policy
 3
     and constitutional mandates,” and the provision of health care “continue[s] to be a multi-
 4

 5   car accident waiting to happen.” And in an email to other ADC medical staff, the doctor

 6   noted that “inadequate staffing levels and unrealistic workloads lead to significant
 7
     breakdowns in the front line services we are trying to provide” and concluded that “we are
 8
     not meeting our own or anybody else’s standard of care.”
 9

10          53.    Defendants’    policy   and    practice   of   chronically   and   consistently

11   understaffing health care positions results in multiple deficiencies and inadequate health
12
     care: there is not enough staff to timely respond to prisoners’ requests for health care and
13
     to emergencies, to provide uninterrupted medication delivery, or to adequately screen,
14

15   monitor and provide follow-up care to prisoners with serious and chronic illnesses. The

16   inadequate health care staffing is caused by Defendants’ systematic elimination of health
17
     care staffing positions in recent years, including physicians, dentists, registered nurses,
18
     and psychiatrists, and Defendants’ failure to actively recruit, hire, train, supervise and
19

20   retain sufficient and competent health care staff.

21          54.    Despite rising health care costs across the country, ADC spending on health
22
     care staff positions dropped more than $4.4 million, or 8.4%, from Fiscal Year (“FY”)
23
     2009 to FY 2011 while the overall state prison population declined by less than 1%.
24

25   These positions were eliminated despite warnings from Defendants’ own health care staff

26   that prisoners would suffer serious harm from the resulting delays in access to care,


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 1   emergency response, specialty care referrals, and inadequate chronic care and medication
 2
     management. For example, in February 2011, the sole psychiatrist on staff at Perryville –
 3
     a complex with 3,500 prisoners and multiple special mental health units for female
 4

 5   prisoners – wrote an email entitled “Please help” to prison officials, warning them that

 6   mental health staffing was “abysmal,” and as a result mental health staff had to “renew
 7
     meds for dozens of people per week without getting to see them because there is not
 8
     enough time.” The psychiatrist concluded, “I’m doing the best I can but it is still not
 9

10   enough. I do not want to leave my position here as I feel that I do some good for the

11   women here and society in general but I am stretched very thin.” In June 2011 the same
12
     psychiatrist wrote an email entitled “Please assist Florence” to Defendant Ryan and
13
     Defendant Pratt’s predecessor Dr. Adu-Tutu, and other ADC officials describing the “dire
14

15   situation” at Florence as it was the last day that complex would have a psychiatric

16   provider.    She described the problems the remaining low-level staff were having in
17
     providing medication for prisoners. Defendant Ryan’s response was, “Your concerns are
18
     not falling on ‘deaf ears’. I acknowledge your messages.”
19

20          55.     The harm resulting from staffing shortages is not limited to Perryville and

21   Florence. The Deputy Medical Director for Psychiatry at Eyman warned Defendant Ryan
22
     and Dr. Adu-Tutu in a series of emails in the fall of 2009 that prisoners “are not receiving
23
     a reasonable level of psychiatric care. We are out of compliance with our own policies
24

25   regarding minimum frequency of contact with a provider, as well as community standards

26   for adequate care. The lack of treatment represents an escalating danger to the community,


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 1   the staff and the inmates.” Defendant Ryan responded with a brusque one sentence
 2
     response that “a strategy is being pursued.”
 3
            56.    That strategy, if one was indeed pursued, has failed. As of August 2011,
 4

 5   more than half of all mental health staff positions were vacant at the Eyman complex,

 6   which houses multiple mental health units and two SMUs, where prisoners are held in
 7
     isolation. As of October 31, 2011, there was not a single psychiatrist on staff for the
 8
     entire Eyman complex. Nor are any psychiatrists currently employed on staff at the
 9

10   Florence, Lewis, and Tucson complexes, which along with Eyman are designated to house

11   prisoners classified as “MH-4: High Need,” signifying the prisoners need specialized
12
     placement in a mental health program and intensive psychiatric staffing and services. As
13
     of August 2011, the Yuma prison housed 52 prisoners classified as MH-3, which ADC’s
14

15   criteria describe as prisoners who require “regular, full-time psychological and psychiatric

16   staffing and services” and who need mental health treatment and supervision. Yet as of
17
     November 2011, the only mental health staff person for the entire Yuma complex was a
18
     lower-level, Psychology Associate II. That position does not require medical training or a
19

20   Ph.D., but rather only a degree in counseling or social work. A Psychology Associate II

21   cannot manage or prescribe medications under current state law, and should be supervised
22
     by a psychologist.
23
            57.    Defendants have knowingly ignored the warnings of their own staff and
24

25   others about the staffing shortages, and as a result prisoners continue to suffer from

26   constitutionally inadequate health care and substantial risk of serious harm due to


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 1   Defendants’ deliberate indifference to the impact of the system-wide staffing shortages.
 2
     II.     Even If Prisoners See Health Care Providers, They Do Not Receive Adequate
 3           Medical, Dental, or Mental Health Care
 4         A. Substandard Medical Care
 5
             58.   Plaintiffs Jensen, Swartz, Chisholm, Licci, Hefner, Polson, and Wells, and
 6
     the Medical Subclass, allege the following. Defendants Ryan and Pratt have a policy and
 7

 8   practice of failing to provide prisoners with adequate medical care, and are deliberately

 9   indifferent to the fact that the systemic failure to do so results in significant injury and an
10
     substantial risk of serious harm to prisoners. Defendants’ failure to provide adequate
11
     medical care results in prisoners experiencing prolonged, unnecessary pain and suffering,
12

13   preventable injury, amputation, disfigurement, and death.

14           1. Defendants Fail to Provide Prisoners With Care for Chronic Diseases and
                Protection From Infectious Disease
15

16           59.   Defendants have a policy and practice of failing to provide prisoners with

17   medically necessary care to address ongoing medical needs or diseases. Defendants’
18
     deliberate indifference to their systemic failure to properly treat or manage prisoners’
19
     chronic illnesses exacerbates prisoners’ conditions, and frequently leads to preventable
20

21   permanent injuries or deaths. For example, a prisoner who needed medical care for

22   gastrointestinal bleeding and an untreated hernia tragically did not receive proper
23
     treatment even after Defendants were aware of his problems. His hernia ruptured his
24
     stomach lining and he was found dead after “vomiting up his insides,” according to
25

26   witnesses. Prior to his death, he reported that a prison doctor told him the hernia was



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 1   “merely cosmetic,” yet when the prisoner asked about his prognosis, the doctor joked, “I
 2
     wouldn’t go to Vegas with you.” A prisoner who has Hepatitis C requested treatment in a
 3
     HNR, but was told in response that since he had received a disciplinary ticket, he was not
 4

 5   eligible for treatment until one year after the date of the ticket.

 6          60.    Defendants also have a policy and practice of not providing medical diets
 7
     ordered by clinicians for prisoners with chronic conditions such as high blood pressure,
 8
     high cholesterol, kidney failure, and diabetes. Instead, all prisoners, including those with
 9

10   chronic conditions requiring special diets, are given a nutritionally inadequate, high-fat

11   and high-sodium diet.       Plaintiff Hefner has chronic gastroesophageal reflux disease
12
     (GERD) and requires a special diet. However, his request for a medical diet was denied,
13
     and the meals he is given often aggravate his condition, forcing him to choose between
14

15   eating food that will cause physical distress, or eating nothing.

16          61.    Defendants also have a policy and practice of failing to effectively enforce
17
     state law prohibiting smoking inside buildings, endangering the health of prisoners and
18
     Defendants’ employees with chronic medical conditions such as asthma, chronic
19

20   obstructive pulmonary disease, allergies, or emphysema, and posing a health risk to

21   prisoners and staff exposed to second-hand smoke. Plaintiffs Gamez and Thomas both
22
     have asthma, and report that second-hand cigarette smoke has triggered asthma attacks.
23
            62.    Defendants have a policy and practice of failing to mitigate the risk of
24

25   infectious and communicable diseases, such as MRSA, Vancomycin-Resistant

26   Enterococcus (VRE), Hepatitis C, and tuberculosis. Defendants fail to maintain basic


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 1   sanitation to prevent the exacerbation of chronic conditions and the spread of infectious
 2
     diseases.    Many sections of ADC’s prisons are filthy, fail to meet basic sanitation
 3
     standards, and expose prisoners to serious, and sometimes fatal, communicable diseases.
 4

 5   These conditions include urine-soaked mattresses, uncontrolled infestations of vermin,

 6   and cell walls and floors covered with black mold or smeared with the feces, spit, and
 7
     blood of other inmates.      Prisoners with cuts or other injuries to their bodies have
 8
     contracted serious infections from the unsanitary conditions of the prison. A prisoner
 9

10   living in unsanitary conditions in the Tucson complex developed a staph infection but was

11   not examined by medical staff until the infection had spread to his eyes. He now has
12
     minimal vision in his right eye and has lost vision in his left eye.
13
            2. Defendants Fail to Provide Timely Access to Medically Necessary Specialty
14             Care
15
            63.     Defendants have a policy and practice of failing to provide prisoners with
16
     specialty care, or doing so only after extensive and unreasonable delays, often resulting in
17

18   unnecessary pain and suffering, permanent injuries, and death. Defendants do not employ

19   medical specialists, but instead send prisoners to contracted outside specialists. In 2009,
20
     reimbursement rates for prison medical contractors were capped so as to be no higher than
21
     those paid by the State’s Medicaid program, the Arizona Health Care Cost Containment
22

23   System. Defendants knew of the impending change to the reimbursement system, but

24   failed to take steps to ameliorate the foreseeable impact of the change in policy. As a
25
     result, all outside medical providers ended their contracts with ADC. For much of 2009
26
     and 2010, Defendants had no contracts in place with outside providers, and even today

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 1   have few outside specialists under contract to treat ADC prisoners. Prior to the rate
 2
     change, ADC’s spending on outside medical services in FY 2009 was $70,860,190. In FY
 3
     2011, the first full year following the change in rates, spending on specialty services had
 4

 5   plummeted by 38% to $43,807,120, while there was no corresponding decline in the

 6   number of prisoners in ADC’s custody. Two years later, as a result of the accumulation of
 7
     pending referrals and the smaller number of contracted providers, prisoners still encounter
 8
     lengthy delays in getting specialized care for serious medical needs.
 9

10          64.    Defendants have been warned repeatedly by their own prison doctors and

11   are well aware that delays in referrals, including those caused by an overly burdensome
12
     approval process for outside specialists harm prisoners, but Defendants are deliberately
13
     indifferent to the resulting harm. An ADC physician testified that it takes months for
14

15   specialty referrals to be processed and that physicians are not notified of the decision from

16   ADC headquarters as to whether the referral will be granted. This doctor told prison
17
     officials “the referral system has broken down.” Another ADC physician described in an
18
     email to prison officials how difficult it was to refer to a specialist a patient with a
19

20   suspected carcinoma of the lip. After repeatedly submitting urgent referrals, he finally

21   sent the request directly to the Division Director of Health Services. The physician
22
     described a system where referrals are “falling through cracks,” and estimated that “an
23
     extensive list of examples… would probably exceed 30% of [his] consults.”
24

25          65.    Defendants’ policy and practice of systematically failing to provide timely

26   access to outside specialists causes prisoners unnecessary harm. In late February 2010,


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 1   Plaintiff Swartz was attacked by other inmates and suffered eye injuries and fractures of
 2
     his cheek bone, orbital bone around his eye, and upper jaw bone – fractures that, if not
 3
     treated, result in the person’s face caving in, and in permanent disfigurement. Outside
 4

 5   emergency room doctors advised that he be seen within a week by an ophthalmologist and

 6   plastic surgeon. Prison doctors submitted these referrals to the review committee, but they
 7
     were not approved. Instead, Mr. Swartz was sent to an oral surgeon, who operated on his
 8
     face without an anesthesiologist present. Mr. Swartz was over-sedated and had to have an
 9

10   antidote to be revived. His face was partially paralyzed due to nerve damage from the

11   botched surgery and over-sedation, and his eyelid drooped, causing dryness to his cornea.
12
     It was not until almost eleven months after the injury that he finally saw an
13
     ophthalmologist regarding his various injuries. Almost two years after the attack, he has
14

15   yet to have his eye and facial damage repaired by a specialist.

16          66.    In another tragic case, medical staff at the Tucson prison complex did not
17
     diagnose, treat, or refer to specialists a prisoner named Ferdinand Dix who had untreated
18
     small cell lung cancer that had spread to his liver, lymph nodes, and other major organs,
19

20   causing sepsis, liver failure, and kidney failure. For two years, Mr. Dix had filed multiple

21   HNRs and exhibited many symptoms consistent with lung cancer, including a chronic
22
     cough and persistent shortness of breath, and he tested positive for tuberculosis. Due to
23
     the metastasized cancer, Mr. Dix’s liver was infested with tumors and grossly enlarged to
24

25   four times normal size, pressing on other internal organs and impeding his ability to eat,

26   but no medical staff even performed a simple palpation of his abdomen. Instead, medical


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 1   staff told him to drink energy shakes. When Mr. Dix was finally taken to an outside
 2
     hospital in a non-responsive state in February 2011, his abdomen was distended to the size
 3
     of that of a full-term pregnant woman, as seen in the photograph below. Mr. Dix died
 4

 5   from the untreated cancer a few days after ADC finally sent him to the hospital.

 6

 7

 8

 9

10

11

12

13

14

15
           67.    Defendants have a policy and practice of failing to order or approve outside
16

17   diagnostic testing, including biopsies of suspicious tumors and growths, and are

18   deliberately indifferent to the resulting harm to prisoners. For example, Plaintiff Jensen
19
     waited more than two years to have a biopsy of the mass in his prostate, because contracts
20
     with outside providers were cancelled. By the time he was finally seen and treated, the
21

22   cancer was much worse, resulting in more invasive surgery and the need to permanently

23   use a catheter. Beginning in 2010 Plaintiff Licci observed multiple masses growing on
24
     her breasts, mouth, and arms, and reported discomfort in her cervix. The masses were
25
     observable in physical examinations. She began experiencing frequent diarrhea, nausea,
26



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 1   exhaustion, weight loss, pain, and other alarming symptoms. Ms. Licci has a family
 2
     history of cancer and was treated for cancer in 2001. Starting in December 2010 she
 3
     requested testing and a prison doctor ordered a referral to an oncologist. However, Ms.
 4

 5   Licci was not sent to an oncologist and did not receive a CT scan until late September

 6   2011. At that time the masses were described as “lighting [the CT scan] up like a
 7
     Christmas tree,” and the specialist ordered biopsies and a colonoscopy.           Still, the
 8
     Perryville gynecologist insisted that nothing was wrong with her. She finally had an MRI
 9

10   in December 2011, but it was not properly administered. Ms. Licci had to file additional

11   HNRs and grievances before receiving a second MRI, which confirmed multiple masses
12
     on both ovaries. She still has not seen an oncologist or had biopsies.
13
            68.    A prison physician submitted a request that Plaintiff Hefner have a CT scan
14

15   to rule out a rib fracture and injury to his spleen in March 2011 after he was injured in an

16   attack, but the request was never reviewed or completed.          Mr. Hefner experienced
17
     persistent pain and submitted three different HNRs in April and May of 2011, but was not
18
     seen by a doctor until June 29, 2011, at which time the CT scan was again requested. He
19

20   did not get a CT scan until late October, 2011, suffering unnecessary pain in the interim.

21          69.    When outside physicians see prisoners, they often prescribe treatment
22
     regimens and medication. However, when prisoners return to prison, Defendants fail to
23
     monitor symptoms or provide follow-up treatment ordered by outside hospital physicians
24

25   in accordance with the prescribed treatment regimens and medical standards of care. As a

26   result, prisoners suffer infections and unnecessary setbacks in their recovery and must


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 1   return to the hospital.
 2
        B. Substandard Dental Care
 3
            70.    Plaintiffs Swartz, Parsons, Chisholm, Polson, and Wells, and the Dental
 4

 5   Subclass, allege the following. Defendants Ryan and Pratt have a policy and practice of

 6   failing to provide medically necessary dental services, and are deliberately indifferent to
 7
     the fact that the systemic failure to do so results in injury and a substantial risk of serious
 8
     harm to prisoners.
 9

10          71.    Prisoners wait months or years for basic dental treatment and suffer

11   significant pain and other harm. Plaintiff Polson was put on the “routine care” waiting list
12
     for dental treatment even though he has multiple teeth that are visibly missing or broken.
13
     The prison dentist designated him as qualified for partial dentures in April 2008, but they
14

15   were not fitted until April 2011. He regularly does not receive his soft food diet. He also

16   filed a HNR after a dead front tooth broke, asking to be seen by the dentist, and to receive
17
     a soft diet, and inquiring about the status of receiving the dentures. The only response on
18
     the HNR was “You are requesting ROUTINE care. You are on ROUTINE care list.” He
19

20   was not seen by the dentist until five months later.

21          72.    The primary dental service provided by Defendants is tooth extraction, even
22
     if a much less invasive procedure such as a filling is medically appropriate and necessary.
23
     Prisoners regularly face the horrible dilemma of saving a tooth and suffering pain, or
24

25   ending the pain and losing a tooth that otherwise could be saved. Plaintiff Swartz is

26   currently in this position. Some prisoners initially refuse the extractions, but eventually


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 1   acquiesce after suffering pain for a long period of time, or their condition worsens until
 2
     extraction is the only treatment option available. After Plaintiff Wells reported missing
 3
     fillings in two of her teeth in December 2010, the prison dentist recommended they be
 4

 5   extracted. She refused, and the dentist told her to file an HNR requesting replacement

 6   fillings. Ms. Wells endured pain for several months before her fillings were replaced;
 7
     however, in the process an adjacent tooth was cracked, exposing a nerve. She was told by
 8
     the dentist to submit another HNR to get that tooth repaired. Several months later, she
 9

10   still has not received appropriate care and suffers pain.

11          73.    Prisoners who are fortunate enough to get fillings are not given permanent
12
     fillings, but rather temporary fillings that are not designed to last more than a few months
13
     at most. Plaintiff Parsons filed an HNR in June 2008 regarding a cavity, but was not seen
14

15   until September of that year, at which time he was given a temporary filling. He filed four

16   HNRs in 2009 complaining that the temporary filling had fallen out of his tooth. Each
17
     time, he was given another temporary filling that would fall out weeks later, and he would
18
     have to restart the process.
19

20      C. Substandard Mental Health Care

21          74.    Plaintiffs Gamez, Swartz, Brislan, Rodriguez, Verduzco, Thomas, Smith,

22   Parsons, Chisholm, and Polson, Plaintiff Arizona Center for Disability Law, and the
23
     Mental Health Subclass, allege the following. Defendants Ryan and Pratt have a policy
24
     and practice of failing to provide prisoners with adequate mental health care, and are
25

26   deliberately indifferent to the fact that the systemic failure to do so results in injury and a



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 1   substantial risk of serious harm to prisoners.
 2
            1. Defendants Deny Mentally Ill Prisoners Medically Necessary Mental
 3             Health Treatment, Including the Proper Management and Administration
               of Psychotropic Medication, Therapy, and Inpatient Treatment
 4
            75.    Defendants have a policy and practice of denying treatment or providing
 5

 6   inadequate treatment to prisoners with serious mental health needs. Because of chronic
 7   understaffing, mentally ill prisoners have insufficient interactions with psychiatrists; many
 8
     receive at most a five- or ten-minute interactions once or twice a year in which they are
 9
     asked only if their medications are working. According to Defendants’ own records,
10

11   some contacts with mental health staff are as brief as two minutes. As a result, clinicians
12   cannot make informed decisions about care. For example, Plaintiff Gamez did not see a
13
     psychiatrist from 2007 to 2011, despite exhibiting worsening mental health and behaviors
14
     such as paranoia, anxiety, panic, and psychosis. Instead, a nurse practitioner merely
15

16   prescribed a variety of psychotropic medications, including drugs not indicated for his

17   diagnosis and behavior. On two separate occasions when Plaintiff Brislan was placed in
18
     suicide watch for weeks for engaging in self-harming behavior and suffering severe side
19
     effects from a variety of psychotropic medications, he did not see a psychiatrist for
20

21   stretches of five and seven months.

22          76.    Since they possess at most a glancing familiarity with their patients,
23
     clinicians are unable to meaningfully evaluate crucial decisions affecting safety and
24
     health, such as the clinical appropriateness of indefinite confinement in SMUs and other
25

26   units that hold prisoners in long-term isolation with minimal opportunities for human



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 1   interaction. For example, Plaintiff Gamez experienced hallucinations and deterioration in
 2
     his mental health due to abrupt interruptions in his medication, yet for two years he never
 3
     saw a psychiatrist while in Eyman’s SMU. Similarly, while in Eyman’s SMU, Plaintiff
 4

 5   Thomas did not see a psychiatrist for almost a year even though he had been moved to the

 6   suicide watch unit multiple times.
 7
           77.    This systemic failure of mental health treatment extends to the management
 8
     of psychotropic medication. Defendants have a policy and practice of failing to monitor
 9

10   and provide follow-up treatment after prescribing psychotropic medications. In addition,

11   prisoners who are on psychotropic medications that increase heat sensitivity are exposed
12
     to levels of heat that pose potentially lethal risks. Defendants are aware of the resulting
13
     problems and the risk of serious harm to prisoners. In June 2011, the sole psychiatrist at
14

15   Perryville emailed Defendant Ryan and other prison officials about the “dire situation” at

16   the Florence prison, as it was the last day a psychiatric provider would be on staff. As a
17
     result of the staff shortage, she said she was contacted by nursing staff at the Florence
18
     prison, asking her to prescribe or renew medications for patients she had never examined,
19

20   and who were housed at a prison 90 miles away from where she worked. The psychiatrist

21   told Defendants that
22
           These are patients I have never met or treated. The liability for treating
23         patients without evaluating and monitoring them is not one I am willing to
           undertake. It is unreasonable for administration to expect that its (very
24         few) providers that it has left to carry the burden of treating patients
25         unseen. In the past, I have been willing to fill meds for a day or two until
           the patient could be seen by the facility psych provider, but I am not
26         willing to prescribe meds for long periods of time without seeing the
           inmate. …I hope for the sake of the patients and the staff at Florence that

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 1          you will drop everything else you are doing and work on getting a provider
            for them.
 2

 3          78.    Defendant Ryan’s response was “[y]our concerns are not falling on ‘deaf

 4   ears’.” Yet the problem the psychiatrist raised in June continues. According to ADC
 5
     staffing reports, as of November 2011, four of the six prisons designated by Defendants
 6
     for Level MH-4 seriously mentally ill prisoners – Eyman, Florence, Lewis, and Tucson –
 7

 8   do not have a single psychiatrist on staff; it is therefore unclear who is writing or renewing

 9   prescriptions for psychotropic medication at those complexes.           The Phoenix facility,
10
     which is located on the grounds of the Arizona State Hospital and is designated for the
11
     highest two levels of prisoners in need of inpatient mental health care, has only one
12

13   psychiatrist on staff. As of February 28, 2012, 197 prisoners were housed in these mental

14   health units at Phoenix.
15
            79.    Because prisoners on psychotropic medications rarely if ever see a
16
     psychiatrist due to staffing shortages, there is little or no follow-up to evaluate the efficacy
17

18   of prescribed medications, to ensure that dosages are adjusted properly to achieve

19   therapeutic levels, or to evaluate prisoners for possible adverse side effects. For example,
20
     Plaintiffs Parsons, Polson, and Gamez did not have their blood regularly drawn to test for
21
     dangerous side effects of medication. Similarly, without any documentation of the basis
22

23   for their decisions, mental health staff prescribed Plaintiff Rodriguez high doses of

24   Haldol, an old medication that carries a much greater risk than newer medications of side
25
     effects and long QTc syndrome, which puts a person at risk of heart arrhythmias. Ms.
26
     Rodriguez had a history of long QTc measurements, and exhibited symptoms including

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 1   lack of spontaneous speech, muscle and jaw stiffness, involuntary movements, and
 2
     grimacing. Ms. Rodriguez finally started to refuse Haldol because of the side effects,
 3
     aggravating her symptoms of mental illness. While housed in Eyman and Lewis prisons,
 4

 5   Plaintiff Brislan demonstrated ongoing self-harming behaviors and dangerous side effects

 6   from multiple psychotropic medications, but he was rarely evaluated by a psychiatrist to
 7
     see if medication adjustments might be helpful for his symptoms. Psychiatrists renewed
 8
     the prescriptions, but the clinical notes did not indicate that the psychiatrist had ever seen
 9

10   Brislan, a clear violation of the applicable standard of care.

11          80.    Defendants have a policy and practice of allowing ongoing monitoring of
12
     prisoners on psychotropic medication by LPNs, psychology assistants, or medication
13
     assistants who hand out the medications. These lower level mental health staff are not
14

15   qualified to adequately convey a prisoner’s concerns to a psychiatrist. Furthermore, staff

16   at this level should not be ordering or authorizing the dispensation of medication.
17
     Plaintiff Swartz saw only lower level mental health staff at his cell front and did not see a
18
     psychiatrist for over a year, even though he had multiple suicide attempts and was put on
19

20   a variety of psychotropic medication, and the dosages were regularly changed. Similarly,

21   in June 2008, Plaintiff Smith was prescribed Celexa, but did not receive it for nearly a
22
     year. He was also prescribed lithium; however, despite the need for close monitoring for
23
     side effects from the lithium, he was not seen by a doctor for three months. His lithium
24

25   was renewed without Mr. Smith having seen a doctor for six months. In November 2009,

26   Mr. Smith submitted a HNR reporting that he was vomiting when given lithium without


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 1   food. He was given Tums and was not seen by a doctor. When he reported continuing
 2
     symptoms in January 2010, he was told to submit another HNR and was not seen by a
 3
     doctor until March 2010, four months after first reporting symptoms. Plaintiff Verduzco
 4

 5   goes months without seeing the Perryville psychiatrist, despite demonstrating multiple

 6   symptoms of severe psychological distress including hallucinations and acts of self-harm.
 7
            81.    According to Defendants’ own records, approximately 1,350 ADC prisoners
 8
     are “severely mentally ill.” Some of these prisoners suffer from psychosis, a disorder that
 9

10   is marked by loss of contact with reality and disorganized thinking. Persons suffering

11   from psychosis may have perceptual disturbances such as hallucinations, paranoia,
12
     delusional beliefs, and bizarre behaviors. Some of these very mentally ill prisoners require
13
     an inpatient level of care – a structured program of psychosocial rehabilitation services
14

15   coupled with individual therapy and appropriate medication management – but they do

16   not receive it. Defendants have failed to reliably provide inpatient mental health care to
17
     those prisoners whose serious mental health needs require it.            Plaintiffs Brislan,
18
     Rodriguez, and Verduzco are among those who require but have not received inpatient
19

20   mental health care.

21      2. Defendants Deprive Suicidal and Self-Harming Prisoners of Basic Mental
           Health Care
22

23          82.    Defendants have a policy and practice of housing prisoners with serious

24   mental health needs in unsafe conditions that heighten their risk of suicide. In FY 2011,
25
     there were 13 suicides in ADC prisons, out of a population that averaged 34,000 during
26
     that time. That is a rate of 38 suicides per 100,000 prisoners per year, more than double

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 1   the national average suicide rate in state prisons of 16.67 per 100,000. Three prisoners
 2
     committed suicide in one week in late January 2012, including a 19-year-old woman.
 3
            83.    One factor responsible for such a high suicide rate is Defendants’ policy and
 4

 5   practice of maintaining suicide watch facilities that offer no meaningful treatment.

 6   Usually the only people who interact with prisoners on suicide watch are correctional
 7
     officers who check on them periodically, medication assistants who dispense pills, or
 8
     psychology assistants who talk to them through the front of their cell. Plaintiff Swartz did
 9

10   not receive psychotherapy for more than two months in the summer of 2011 while on

11   suicide watch at the Lewis facility. After he swallowed glass and was taken to an outside
12
     hospital, the hospital psychiatrist recommended that he be taken to an inpatient mental
13
     health unit. These units are in the Phoenix complex. Instead, Mr. Swartz remained at
14

15   Lewis where he continued to harm himself.          He finally was moved to the Phoenix

16   inpatient unit almost three months after the hospital psychiatrist had made that
17
     recommendation, but after a short period of time he was again returned to Lewis. Plaintiff
18
     Thomas did not see a psychiatrist for 11 months despite being placed on suicide watch
19

20   multiple times.

21          84.    Defendants also have a policy and practice of holding suicidal and mentally
22
     ill prisoners in conditions that violate all notions of minimally adequate mental health care
23
     and basic human dignity, and are not compatible with civilized standards of humanity and
24

25   decency. Suicide watch cells are often filthy, with walls and food slots smeared with

26   other prisoners’ blood and feces, reeking of human waste. Mental health staff show a lack


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 1   of professionalism and little compassion for prisoners enduring these conditions: for
 2
     example, prisoners in suicide cells are taunted for being in “the feces cells.” When
 3
     Plaintiff Swartz complained to a LPN about the unhygienic conditions of the suicide cell
 4

 5   at Lewis, the LPN described him in the mental health notes from the encounter as

 6   “bitching about cleanliness – germs and disease.”
 7
            85.    Defendants have a policy and practice of keeping suicide watch cells at very
 8
     cold temperatures. Prisoners are stripped of all clothing and given only a stiff suicide
 9

10   smock and a thin blanket, making the extreme cold even harder to tolerate. Plaintiffs

11   Rodriguez and Verduzco report that the suicide smock used in Perryville barely comes to
12
     the top of female prisoners’ thighs, so both their legs and arms are exposed to cold air.
13
     Many prisoners are also deprived of mattresses and as a result must sleep on bare steel bed
14

15   frames, or on the floor made filthy with the bodily fluids of prior inhabitants. Plaintiff

16   Brislan spent several weeks in a frigid suicide cell with no mattress.
17
            86.    Defendants have a policy and practice of exposing prisoners on suicide
18
     watch to gratuitously harsh, degrading, and damaging conditions of confinement.
19

20   Prisoners are given only two cold meals a day, and are denied the opportunity to go

21   outside, brush their teeth, or take showers. The only monitoring prisoners receive in
22
     suicide watch is when correctional officers force them awake every ten to 30 minutes,
23
     around the clock, ostensibly to check on their safety. In some suicide cells, bright lights
24

25   are left on 24 hours a day. The resulting inability to sleep aggravates the prisoners’

26   psychological distress.


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 1         87.    Mentally ill prisoners on suicide watch complain of correctional staff
 2
     behavior that interferes with any therapeutic effect of being on suicide watch, including
 3
     harassment, insults and taunts, and the excessive and practically sporting use of pepper
 4

 5   spray. Prisoners at the Perryville suicide watch units, including Plaintiff Verduzco, have

 6   jerked awake when awoken by staff on the “safety checks,” and are pepper sprayed for
 7
     allegedly attempting to assault the officers. Guards in the Perryville suicide watch units
 8
     also frequently pepper spray female prisoners in their eyes and throats when they are
 9

10   delusional or hallucinating. Plaintiffs Rodriguez and Verduzco have asthma and rely

11   upon inhalers, and they have had asthma attacks from the regular use of pepper spray in
12
     the women’s suicide watch unit. On multiple occasions after she was pepper sprayed in
13
     the eyes, nose, and mouth, Ms. Verduzco was dragged to a shower, stripped naked, and
14

15   sprayed with extremely cold water to rinse away the pepper spray; she was then left naked

16   to wait for a new vest and blanket. A prisoner in the Florence prison’s suicide watch unit
17
     reports that while there he was handed razor blades to swallow by other prisoners, and
18
     told “just die right away.” He started to swallow the blades, and security staff pepper
19

20   sprayed him while he coughed up blood, and did not provide other emergency response.

21         88.    Defendants’ policy and practice of holding suicidal prisoners in excessively
22
     harsh conditions does not prevent but rather promotes self-injurious behavior. Plaintiff
23
     Brislan has cut himself numerous times with razors and pieces of metal while on suicide
24

25   watch at multiple prisons, including Tucson, Lewis, and Eyman’s SMU 1 and Browning

26   units. At the Tucson prison, staff put him on suicide watch in a cell with broken glass on


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 1   the floor which he used to cut himself. During another stay in suicide watch, Mr. Brislan
 2
     was given a razor blade that he used to deeply lacerate both of his thighs. While on
 3
     suicide watch in the Lewis prison during the summer of 2011, Plaintiff Swartz, on
 4

 5   separate occasions, swallowed multiple foreign objects, including two large staples,

 6   plastic wrap, a piece of glass, a lead-head concrete nail, a spork, two pens, sharpened
 7
     paper clips, a metal spring, a steel bolt, and two copper wires. As with Plaintiff Brislan,
 8
     Mr. Swartz’s repeated suicidal gestures and ability to access dangerous objects while on
 9

10   suicide watch confirms that he was not being properly monitored and that any mental

11   health treatment he might have been receiving was inadequate.
12
            89.     Defendants also have a policy and practice of improperly using the suicide
13
     watch cells to punish prisoners for alleged disciplinary infractions. An Eyman prisoner
14

15   who went on a hunger strike to protest prison policies, but did not display signs of mental

16   illness or distress, was put in a suicide watch cell for several weeks and was told by a
17
     mental health provider, “If you weren’t on this hunger strike, you wouldn’t have to live in
18
     the feces cell.”
19

20   III.   Defendants Subject Prisoners in Isolation to Unconstitutional Conditions

21          90.     Plaintiffs Gamez, Swartz, Brislan, Rodriguez, Verduzco, Thomas, Smith,

22   and Polson, Plaintiff Arizona Center for Disability Law, and the Isolation Subclass allege
23
     the following. Defendants have a policy and practice of confining thousands of prisoners
24
     in isolation (defined as confinement in a cell for 22 hours or more each day or
25

26   confinement in Eyman – SMU 1, Eyman – Browning Unit, Florence – Central Unit, or



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 1   Perryville – Lumley Unit Special Management Area (SMA)), in conditions of enforced
 2
     idleness, social isolation, and sensory deprivation, and are deliberately indifferent to the
 3
     resulting substantial risk of serious physical and psychiatric harm.
 4

 5          91.    The large majority of prisoners in isolation are held in four facilities: two

 6   SMUs at the Eyman prison (SMU 1 and Browning Units); the Florence complex’s Central
 7
     Unit; and the Perryville complex’s Lumley SMA for female prisoners. However, other
 8
     prisoners are held in isolation in Complex Detention Units (CDUs) and other restricted
 9

10   housing units throughout ADC.

11          92.    Prisoners in isolation leave their cells no more than three times a week, for a
12
     brief shower and no more than two hours of “exercise” in the “rec pen” – a barren,
13
     windowless concrete cell with high walls that is not much larger than the cells in which
14

15   prisoners live, with no exercise equipment. Many prisoners refuse to go to the rec pen,

16   because it is so small that it does not allow meaningful exercise, and because prisoners are
17
     placed in restraints and strip-searched when going to and returning from the rec pen. In
18
     addition, prisoners sometimes are not allowed to take water to the rec pen, even at the
19

20   height of Arizona’s summer heat. For those prisoners who do wish to go to the rec pen,

21   even this brief respite is often denied: exercise is sometimes cancelled due to staffing
22
     shortages.   Prisoners in Florence’s Central Unit, including Plaintiff Gamez, are not
23
     allowed to go to recreation if they are not clean-shaven, but are often deprived of shaving
24

25   supplies and are thus denied exercise. Some prisoners in isolation receive no outdoor

26   exercise at all for months or years on end; others receive insufficient exercise to preserve


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 1   their physical and mental health.
 2
             93.    Conditions of isolation are designed to minimize human contact and
 3
     environmental stimulation. Most or all of these prisoners are held in cells with a solid
 4

 5   steel door and no window to the outside. Some prisoners have no means of telling the

 6   time and become disoriented and confused, not knowing the date or whether it is day or
 7
     night. The cells are often illuminated 24 hours a day, making sleep difficult and further
 8
     contributing to prisoners’ disorientation and mental deterioration.        Chronic sleep
 9

10   deprivation is common. Plaintiff Thomas reported an inability to sleep and requested

11   Ambien, but was not prescribed a sleep aid.       Property is extremely limited.     Many
12
     prisoners have no radio or television, and many are illiterate or have difficulty reading,
13
     leaving them in a state of enforced idleness with nothing to do but sleep, sit, or pace in
14

15   their cells.

16           94.    Prisoners in isolation often go months or years without any meaningful
17
     human interaction. Unless they are fortunate enough to receive a brief medical or legal
18
     appointment or a visit, prisoners are isolated from virtually all human contact. Their only
19

20   regular interaction with another human being occurs when officers deliver their food

21   trays, or place them in restraints and strip-search them while taking them to or from the
22
     rec pen.
23
             95.    Defendants have a policy and practice of denying prisoners in isolation
24

25   adequate nutrition, which Defendants justify on the basis that, because these prisoners

26   receive virtually no exercise, they burn fewer calories and therefore need less food. Some


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 1   prisoners in isolation receive only two meals per day, which do not meet their minimal
 2
     nutritional needs. Prisoners experience constant hunger pangs and some lose significant
 3
     weight as a result of Defendants’ policy of providing inadequate nutrition. Plaintiff
 4

 5   Thomas lost 30 pounds while in isolation. Plaintiff Smith, who is in isolation supposedly

 6   for his own protection after leaving a gang, often cannot eat the limited amount of food he
 7
     is given, as it is tampered with by the prisoner kitchen workers who target him for
 8
     retaliation. He has complained to prison staff, to no avail.
 9

10          96.    The devastating effects of these conditions of extreme social isolation and

11   environmental deprivation are well known to Defendants.          An abundant psychiatric
12
     literature spanning nearly two hundred years has documented the adverse mental health
13
     effects of isolation, and Arizona prisoners are no exception. Even prisoners who have no
14

15   mental illness when first placed in isolation often experience a dramatic deterioration in

16   their mental health, developing symptoms such as paranoia, anxiety, depression, and post-
17
     traumatic stress disorder. For example, Mr. Thomas did not suffer from suicidal ideation
18
     when he was put in isolation, but as time went on, his mental and physical state
19

20   deteriorated. He developed suicidal ideation and physically harmed himself several times.

21   Plaintiff Smith’s file notes that on January 5, 2010, he reported mental health problems
22
     while housed in isolation, but he could not be seen due to a “psych RN shortage.” Even
23
     those prisoners who withstand isolation better than most are subjected to intolerable
24

25   conditions, as they are forced to endure the hallucinations and screaming of prisoners

26   suffering the debilitating effects of isolation.


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 1          97.    Isolation is even more predictably damaging to prisoners with a pre-existing
 2
     mental illness. For these prisoners, isolation poses a grave risk of exacerbation of mental
 3
     health symptoms, psychiatric injury such as PTSD, self-harm, and suicide. Deprived of
 4

 5   the social interaction that is essential to keep them grounded in reality, many prisoners

 6   with mental illness experience catastrophic and often irreversible psychiatric deterioration.
 7
     Unlike prison officials in many states, Defendants’ policy and practice allows the isolation
 8
     of prisoners with mental illness, and Defendants knowingly hold prisoners designated as
 9

10   seriously mentally ill in isolation.

11          98.    The harm to prisoners in isolation is exacerbated by the policy and practice
12
     of Defendants of failing to provide adequate mental health care staffing and treatment. In
13
     addition, the harsh regime and severe limits on human contact in isolation render
14

15   appropriate mental health treatment effectively impossible. Prisoners in isolation do not

16   receive regular contact with psychiatrists or mental health clinicians, nor do they receive
17
     the limited group therapy that is sometimes provided to prisoners in other ADC facilities.
18
     Defendants stated in response to a public records request that they keep no records of the
19

20   mental health programming provided to prisoners in isolation. These prisoners’ rare

21   interactions with mental health staff usually consist of “cellfront” contacts in which the
22
     staff member shouts through the cell door, within earshot of both officers and other
23
     prisoners. There is currently no psychiatrist on staff at Eyman, which has two SMUs.
24

25          99.    The most common form of mental health treatment for prisoners in isolation

26   is the administration of powerful psychotropic medications, with little or no supervision


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 1   by a psychiatrist. For example, Plaintiff Gamez was not seen by a psychiatrist from 2007
 2
     through 2011 despite worsening mental health symptoms. His mental health deteriorated
 3
     extensively while held in isolation from 2009 through 2011, yet he did not see a
 4

 5   psychiatrist or receive psychotherapy despite filing multiple HNRs detailing his

 6   symptoms.     Similarly, Plaintiffs Brislan and Swartz had psychotropic medications
 7
     renewed without any contact with a psychiatrist, despite increasing incidents of self-
 8
     harming behavior and side effects while in isolation. Prisoners who require an inpatient
 9

10   level of mental health care, like Plaintiffs Brislan and Verduzco, do not receive it, and are

11   instead left in isolation where their condition worsens.
12
            100.   The predictable outcomes of these cruel conditions of isolation are
13
     psychiatric deterioration, self-injury, and death. Plaintiffs Swartz and Brislan attempted to
14

15   commit suicide on multiple occasions while in isolation.         Recently a prisoner with

16   depression who was housed in isolation at Florence-Central Unit repeatedly asked
17
     custodial staff and medical staff passing by if he could be seen by mental health because
18
     he was suicidal. Nothing was done for him, and he committed suicide by hanging on
19

20   January 28, 2012.

21                                CLASS ACTION ALLEGATIONS
22
            Plaintiff Class
23
            101.   All prisoner Plaintiffs bring this action on their own behalf and, pursuant to
24

25   Rules 23(a), 23(b)(1), and 23(b)(2) of the Federal Rules of Civil Procedure, on behalf of a

26   class of all prisoners who are now, or will in the future be, subjected to the medical,


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 1   mental health, and dental care (collectively “health care”) policies and practices of the
 2
     ADC (the “Plaintiff Class”).
 3
                                 Numerosity: Fed. R. Civ. P. 23(a)(1)
 4

 5           102.   The class is so numerous that joinder of all members is impracticable. Fed.

 6   R. Civ. P. 23(a)(1). As of March 1, 2012, there are approximately 33,100 prisoners in the
 7
     custody of ADC’s prisons, all of whom are dependent entirely on Defendants for the
 8
     provision of health care. Due to Defendants’ policies and practices, all ADC prisoners,
 9

10   numbering tens of thousands annually, receive or are at risk of receiving inadequate health

11   care while in ADC prisons. 3
12
             103.   The Plaintiff Class members are identifiable using records maintained in the
13
     ordinary course of business by the ADC.
14

15                              Commonality: Fed. R. Civ. P. 23(a)(2)

16           104.   There are questions of law and fact common to the members of the class.
17
     Such questions include, but are not limited to:
18
             (a)    whether Defendants’ failure to operate a health care system
19                  providing minimally adequate health care violates the Cruel and
20                  Unusual Punishments Clause of the Eighth Amendment,

21           (b)    whether Defendants have been deliberately indifferent to the serious
                    health care needs of class members.
22

23   Defendants are expected to raise common defenses to these claims, including denying that

24   their actions violated the law.
25

26   3
       This proposed class does not include the approximately 6,400 Arizona prisoners housed
     in private for-profit prisons pursuant to contracts with ADC.

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 1                                Typicality: Fed. R. Civ. P. 23(a)(3)
 2
            105.    The claims of the Plaintiffs are typical of those of the Plaintiff Class, as their
 3
     claims arise from the same policies, practices, or courses of conduct; and their claims are
 4

 5   based on the same theory of law as the class’s claims.

 6   ///
 7
                                   Adequacy: Fed. R. Civ. P. 23(a)(4)
 8
            106.    Plaintiffs are capable of fairly and adequately protecting the interests of the
 9

10   Plaintiff class because Plaintiffs do not have any interests antagonistic to the class.

11   Plaintiffs, as well as the Plaintiff class members, seek to enjoin the unlawful acts and
12
     omissions of Defendants. Finally, Plaintiffs are represented by counsel experienced in
13
     civil rights litigation, prisoners’ rights litigation, and complex class action litigation.
14

15                                Fed. R. Civ. P. 23(b)(1)(A) and (B)

16          107.    This action is maintainable as a class action pursuant to Fed. R. Civ. P.
17
     23(b)(1) because the number of class members is approximately 33,100, and the
18
     prosecution of separate actions by individuals would create a risk of inconsistent and
19

20   varying adjudications, which in turn would establish incompatible standards of conduct

21   for Defendants Ryan and Pratt. Additionally, the prosecution of separate actions by
22
     individual members could result in adjudications with respect to individual members that,
23
     as a practical matter, would substantially impair the ability of other members to protect
24

25   their interests.

26                                       Fed. R. Civ. P. 23(b)(2)


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 1             108.   This action is also maintainable as a class action pursuant to Fed. R. Civ. P.
 2
     23(b)(2) because Defendants’ policies, practices, actions, and omissions that form the
 3
     basis of this complaint are common to and apply generally to all members of the class,
 4

 5   and the injunctive and declaratory relief sought is appropriate and will apply to all

 6   members of the class. All state-wide health care policies are centrally promulgated,
 7
     disseminated, and enforced from the central headquarters of ADC by Defendants Ryan
 8
     and Pratt. The injunctive and declaratory relief sought is appropriate and will apply to all
 9

10   members of the Plaintiff class.

11             Medical Subclass
12
               109.   Plaintiffs Jensen, Swartz, Chisholm, Licci, Hefner, Polson, and Wells bring
13
     this action on their own behalf and, pursuant to Rules 23(a), 23(b)(1), and 23(b)(2) of the
14

15   Federal Rules of Civil Procedure, on behalf of a subclass of all prisoners (hereinafter

16   “Medical Subclass”) who are now, or will in the future be, subjected to the medical care
17
     policies and practices of the ADC. “Medical care” includes care related to hearing and
18
     vision.
19

20                                 Numerosity: Fed. R. Civ. P. 23(a)(1)

21             110.   The Medical Subclass is so numerous that joinder of all members is
22
     impracticable. As of March 1, 2012, there are approximately 33,100 prisoners in the
23
     custody of ADC’s prisons, all of whom are dependent entirely on Defendants for the
24

25   provision of medical care. Due to Defendants’ policies and practices, all ADC prisoners,

26   numbering tens of thousands annually, receive or are at risk of receiving inadequate


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 1   medical care while in ADC prisons.
 2
            111.   The Medical Subclass members are identifiable using records maintained in
 3
     the ordinary course of business by the ADC.
 4

 5                              Commonality: Fed. R. Civ. P. 23(a)(2)

 6          112.   There are questions of law and fact common to the members of the Medical
 7
     Subclass. Such questions include, but are not limited to:
 8
            (a)    whether Defendants’ failure to operate a medical care system
 9                 providing minimally adequate medical care violates the Cruel and
10                 Unusual Punishments Clause of the Eighth Amendment,

11          (b)    whether Defendants have been deliberately indifferent to the
                   resulting harm and risk of harm to Medical Subclass members who
12
                   are deprived of minimally adequate medical care.
13
     Defendants are expected to raise common defenses to these claims, including denying that
14

15   their actions violated the law.

16                                Typicality: Fed. R. Civ. P. 23(a)(3)
17
            113.   The claims of the Plaintiffs are typical of those of the Medical Subclass,
18
     because their claims arise from the same policies, practices, or courses of conduct; and
19

20   their claims are based on the same theory of law as the subclass’s claims.

21                                Adequacy: Fed. R. Civ. P. 23(a)(4)
22
            114.   Plaintiffs are capable of fairly and adequately protecting the interests of the
23
     Medical Subclass because Plaintiffs do not have any interests antagonistic to the subclass.
24

25   Plaintiffs, as well as the Medical Subclass members, seek to enjoin the unlawful acts and

26   omissions of Defendants. The Plaintiffs are represented by counsel experienced in civil


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 1   rights litigation, prisoners’ rights litigation, and complex class action litigation.
 2
                                  Fed. R. Civ. P. 23(b)(1)(A) and (B)
 3
            115.   Since the number of Medical Subclass members is so large, the prosecution
 4

 5   of separate actions by individuals would create a risk of inconsistent and varying

 6   adjudications, which in turn would establish incompatible standards of conduct for
 7
     Defendants Ryan and Pratt.
 8
            116.   Additionally, the prosecution of separate actions by individual members
 9

10   could result in adjudications with respect to individual members that, as a practical matter,

11   would substantially impair the ability of other members to protect their interests.
12
                                        Fed. R. Civ. P. 23(b)(2)
13
            117.   Defendants’ policies, practices, actions, and omissions that form the basis of
14

15   the claims of the Medical Subclass are common to and apply generally to all members of

16   the subclass, and the injunctive and declaratory relief sought is appropriate and will apply
17
     to all members of the subclass. All state-wide medical policies are centrally promulgated,
18
     disseminated, and enforced from the central headquarters of ADC by Defendants Ryan
19

20   and Pratt. The injunctive and declaratory relief sought is appropriate and will apply to all

21   members of the subclass.
22
            Dental Subclass
23
            118.   Plaintiffs Swartz, Parsons, Chisholm, Polson, and Wells bring this action on
24

25   their own behalf and, pursuant to Rules 23(a), 23(b)(1), and 23(b)(2) of the Federal Rules

26   of Civil Procedure, on behalf of a subclass of all prisoners (hereinafter “Dental Subclass”)


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 1   who are now, or will in the future be, subjected to the dental care policies and practices of
 2
     the ADC.
 3
                                 Numerosity: Fed. R. Civ. P. 23(a)(1)
 4

 5          119.   The Dental Subclass is so numerous that joinder of all members is

 6   impracticable. As of March 1, 2012, there are approximately 33,100 prisoners in the
 7
     custody of ADC’s prisons, all of whom are dependent entirely on Defendants for the
 8
     provision of dental care. Due to Defendants’ policies and practices, all ADC prisoners,
 9

10   numbering tens of thousands annually, receive or are at risk of receiving inadequate dental

11   care while in ADC prisons.
12
            120.   The Dental Subclass members are identifiable using records maintained in
13
     the ordinary course of business by the ADC.
14

15                              Commonality: Fed. R. Civ. P. 23(a)(2)

16          121.   There are questions of law and fact common to the members of the Dental
17
     Subclass. Such questions include, but are not limited to:
18
            (a)    whether Defendants’ failure to operate a dental care system
19                 providing minimally adequate dental care violates the Cruel and
20                 Unusual Punishments Clause of the Eighth Amendment,

21          (b)    whether Defendants have been deliberately indifferent to the
                   resulting harm and risk of harm to Dental Subclass members who are
22
                   deprived of minimally adequate dental care.
23
     Defendants are expected to raise common defenses to these claims, including denying that
24

25   their actions violated the law.

26                                Typicality: Fed. R. Civ. P. 23(a)(3)


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 1          122.    The claims of the Plaintiffs are typical of those of the Dental Subclass,
 2
     because their claims arise from the same policies, practices, or courses of conduct; and
 3
     their claims are based on the same theory of law as the subclass’s claims.
 4

 5                                 Adequacy: Fed. R. Civ. P. 23(a)(4)

 6          123.    Plaintiffs are capable of fairly and adequately protecting the interests of the
 7
     Dental Subclass because Plaintiffs do not have any interests antagonistic to the subclass.
 8
     Plaintiffs, as well as the Dental Subclass members, seek to enjoin the unlawful acts and
 9

10   omissions of Defendants. Finally, Plaintiffs are represented by counsel experienced in

11   civil rights litigation, prisoners’ rights litigation, and complex class action litigation.
12
                                  Fed. R. Civ. P. 23(b)(1)(A) and (B)
13
            124.    Since the number of Dental Subclass members is so large, the prosecution of
14

15   separate actions by individuals would create a risk of inconsistent and varying

16   adjudications, which in turn would establish incompatible standards of conduct for
17
     Defendants Ryan and Pratt.          Additionally, the prosecution of separate actions by
18
     individual members could result in adjudications with respect to individual members that,
19

20   as a practical matter, would substantially impair the ability of other members to protect

21   their interests.
22
                                         Fed. R. Civ. P. 23(b)(2)
23
            125.    Defendants’ policies, practices, actions, and omissions that form the basis of
24

25   the claims of the Dental Subclass are common to and apply generally to all members of

26   the subclass, and the injunctive and declaratory relief sought is appropriate and will apply


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 1   to all members of the subclass. All state-wide dental policies are centrally promulgated,
 2
     disseminated, and enforced from the central headquarters of ADC by Defendants Ryan
 3
     and Pratt. The injunctive and declaratory relief sought is appropriate and will apply to all
 4

 5   members of the subclass.

 6   ///
 7
            Mental Health Subclass
 8
            126.   Plaintiffs Gamez, Swartz, Brislan, Rodriguez, Verduzco, Smith, Parsons,
 9

10   Chisholm, and Polson, bring this action on their own behalf and, pursuant to Rules 23(a),

11   23(b)(1), and 23(b)(2) of the Federal Rules of Civil Procedure, on behalf of a subclass of
12
     all prisoners (hereinafter “Mental Health Subclass”) who are now, or will in the future be,
13
     subjected to the mental health care policies and practices of the ADC.
14

15                              Numerosity: Fed. R. Civ. P. 23(a)(1)

16          127.   The Mental Health Subclass is so numerous that joinder of all members is
17
     impracticable. As of March 1, 2012, there are approximately 33,100 prisoners in the
18
     custody of ADC’s prisons, all of whom are dependent entirely on Defendants for the
19

20   provision of mental health care. Due to Defendants’ policies and practices, all ADC

21   prisoners, numbering tens of thousands annually, receive or are at risk of receiving
22
     inadequate mental health care while in ADC prisons.          The Mental Health Subclass
23
     members are identifiable using records maintained in the ordinary course of business by
24

25   the ADC.

26                              Commonality: Fed. R. Civ. P. 23(a)(2)


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 1          128.   There are questions of law and fact common to the members of the Mental
 2
     Health Subclass. Such questions include, but are not limited to:
 3
            (a)    whether Defendants’ failure to operate a mental health care system
 4                 providing minimally adequate mental health care violates the Cruel
 5                 and Unusual Punishments Clause of the Eighth Amendment,

 6          (b)    whether Defendants have been deliberately indifferent to the
                   resulting harm and risk of harm to Mental Health Subclass members
 7
                   who are deprived of minimally adequate mental health care.
 8
     Defendants are expected to raise common defenses to these claims, including denying that
 9

10   their actions violated the law.

11                                Typicality: Fed. R. Civ. P. 23(a)(3)
12
            129.   The claims of the Plaintiffs are typical of those of the Mental Health
13
     Subclass, because their claims arise from the same policies, practices, or courses of
14

15   conduct; and their claims are based on the same theory of law as the subclass’s claims.

16                                Adequacy: Fed. R. Civ. P. 23(a)(4)
17
            130.   Plaintiffs are capable of fairly and adequately protecting the interests of the
18
     Mental Health Subclass because Plaintiffs do not have any interests antagonistic to the
19

20   subclass. Plaintiffs, as well as the Mental Health Subclass members, seek to enjoin the

21   unlawful acts and omissions of Defendants. Finally, Plaintiffs are represented by counsel
22
     experienced in civil rights litigation, prisoners’ rights litigation, and complex class action
23
     litigation.
24

25                               Fed. R. Civ. P. 23(b)(1)(A) and (B)

26          131.   Since the number of Mental Health Subclass members is so large, the


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 1   prosecution of separate actions by individuals would create a risk of inconsistent and
 2
     varying adjudications, which in turn would establish incompatible standards of conduct
 3
     for Defendants Ryan and Pratt. Additionally, the prosecution of separate actions by
 4

 5   individual members could result in adjudications with respect to individual members that,

 6   as a practical matter, would substantially impair the ability of other members to protect
 7
     their interests.
 8
                                       Fed. R. Civ. P. 23(b)(2)
 9

10          132.    Defendants’ policies, practices, actions, and omissions that form the basis of

11   the claims of the Mental Health Subclass are common to and apply generally to all
12
     members of the subclass, and the injunctive and declaratory relief sought is appropriate
13
     and will apply to all members of the subclass. All state-wide mental health policies are
14

15   centrally promulgated, disseminated, and enforced from the central headquarters of ADC

16   by Defendants Ryan and Pratt. The injunctive and declaratory relief sought is appropriate
17
     and will apply to all members of the subclasses.
18
            Isolation Subclass
19

20          133.    Plaintiffs Gamez, Swartz, Brislan, Rodriguez, Verduzco, Thomas, Smith,

21   and Polson bring this action on their own behalf and, pursuant to Rules 23(a), 23(b)(1),
22
     and 23(b)(2) of the Federal Rules of Civil Procedure, against Defendants Ryan and Pratt
23
     on behalf of a subclass of all prisoners (hereinafter “Isolation Subclass”) who are now, or
24

25   will in the future be, subject by the ADC to isolation, defined as confinement in a cell for

26   22 hours or more each day or confinement in Eyman - SMU 1, Eyman - Browning Unit,


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 1   Florence - Central Unit, or Perryville - Lumley Unit Special Management Area (SMA).
 2
                                 Numerosity: Fed. R. Civ. P. 23(a)(1)
 3
            134.   The Isolation Subclass is so numerous that joinder of all members is
 4

 5   impracticable. Each year approximately 3,000 prisoners are subjected to Defendants’

 6   policies and practices of denying minimally adequate conditions of confinement while in
 7
     isolation. The Isolation Subclass members are identifiable using records maintained in the
 8
     ordinary course of business by the ADC.
 9

10                              Commonality: Fed. R. Civ. P. 23(a)(2)

11          135.   There are questions of law and fact common to the members of the Isolation
12
     Subclass. Such questions include, but are not limited to:
13
            (a)    whether Defendants’ policy and practice of not providing a housing
14                 environment free of debilitating isolation and inhumane conditions
15                 to prisoners subjected to isolation violates the Cruel and Unusual
                   Punishments Clause of the Eighth Amendment,
16
            (b)    whether Defendants have been deliberately indifferent to the
17
                   Isolation Subclass members’ risk of injury and harm from the
18                 debilitating isolation and inhumane conditions to which they are
                   subjected.
19

20   Defendants are expected to raise common defenses to these claims, including denying that

21   their actions violated the law.
22
                                  Typicality: Fed. R. Civ. P. 23(a)(3)
23
            136.   The claims of the Plaintiffs are typical of those of the Isolation Subclass,
24

25   because their claims arise from the same policies, practices, or courses of conduct; and

26   their claims are based on the same theory of law as the subclass’s claims.


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 1                                 Adequacy: Fed. R. Civ. P. 23(a)(4)
 2
            137.    Plaintiffs are capable of fairly and adequately protecting the interests of the
 3
     Isolation Subclass because Plaintiffs do not have any interests antagonistic to the subclass.
 4

 5   Plaintiffs, as well as the Isolation Subclass members, seek to enjoin the unlawful acts and

 6   omissions of Defendants. Finally, Plaintiffs are represented by counsel experienced in
 7
     civil rights litigation, prisoners’ rights litigation, and complex class action litigation.
 8
                                  Fed. R. Civ. P. 23(b)(1)(A) and (B)
 9

10          138.    Since the number of Isolation Subclass members is approximately 3,000, the

11   prosecution of separate actions by individuals would create a risk of inconsistent and
12
     varying adjudications, which in turn would establish incompatible standards of conduct
13
     for Defendants Ryan and Pratt. Additionally, the prosecution of separate actions by
14

15   individual members could result in adjudications with respect to individual members that,

16   as a practical matter, would substantially impair the ability of other members to protect
17
     their interests.
18
                                         Fed. R. Civ. P. 23(b)(2)
19

20          139.    Defendants’ policies, practices, actions, and omissions that form the basis of

21   the claims of the Isolation Subclass are common to and apply generally to all members of
22
     the subclass, and the injunctive and declaratory relief sought is appropriate and will apply
23
     to all members of the subclass. All state-wide policies on the conditions of isolation are
24

25   centrally promulgated, disseminated, and enforced from the central headquarters of ADC

26   by Defendants Ryan and Pratt. The injunctive and declaratory relief sought is appropriate


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 1   and will apply to all members of the subclass.
 2
                                       CLAIMS FOR RELIEF
 3
                                        First Cause of Action
 4          (All Prisoner Plaintiffs and the Plaintiff Class v. Defendants Ryan and Pratt)
 5                             (42 U.S.C. § 1983; Eighth Amendment)

 6          140.   By their policies and practices described herein, Defendants subject all
 7   prisoner Plaintiffs and the Plaintiff class to a substantial risk of serious harm and injury
 8
     from inadequate health care. These policies and practices have been and continue to be
 9
     implemented by Defendants and their agents, officials, employees, and all persons acting
10

11   in concert with them under color of state law, in their official capacities, and are the
12   proximate cause of the Plaintiffs’ and the Plaintiff Class’s ongoing deprivation of rights
13
     secured by the United States Constitution under the Eighth Amendment.
14
            141.   Defendants have been and are aware of all of the deprivations complained of
15

16   herein, and have condoned or been deliberately indifferent to such conduct.

17                                     Second Cause of Action
18           (Plaintiffs Jensen, Swartz, Chisholm, Licci, Hefner, Polson, and Wells; and
                            Medical Subclass v. Defendants Ryan and Pratt)
19                              (42 U.S.C. § 1983; Eighth Amendment)
20          142.   By their policies and practices described herein, Defendants subject
21
     Plaintiffs Jensen, Swartz, Chisholm, Licci, Hefner, Polson, and Wells, and the Medical
22
     Subclass to a substantial risk of serious harm and injury from inadequate medical care.
23

24   These policies and practices have been and continue to be implemented by Defendants

25   and their agents, officials, employees, and all persons acting in concert with them under
26
     color of state law, in their official capacities, and are the proximate cause of the Plaintiffs’


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 1   and the Medical Subclass’s ongoing deprivation of rights secured by the United States
 2
     Constitution under the Eighth Amendment.
 3
              143.   Defendants have been and are aware of all of the deprivations complained of
 4

 5   herein, and have condoned or been deliberately indifferent to such conduct.

 6   ///
 7
                                         Third Cause of Action
 8                   (Plaintiffs Swartz, Parsons, Chisholm, Polson, and Wells; and
                             Dental Subclass v. Defendants Ryan and Pratt)
 9                               (42 U.S.C. § 1983; Eighth Amendment)
10
              144.   By their policies and practices described herein, Defendants subject
11
     Plaintiffs Swartz, Parsons, Chisholm, Polson, and Wells, and the Dental Subclass to a
12

13   substantial risk of serious harm and injury from inadequate dental care. These policies

14   and practices have been and continue to be implemented by Defendants and their agents,
15
     officials, employees, and all persons acting in concert with them under color of state law,
16
     in their official capacities, and are the proximate cause of the Plaintiffs’ and the Dental
17

18   Subclass’s ongoing deprivation of rights secured by the United States Constitution under

19   the Eighth Amendment.
20
              145.   Defendants have been and are aware of all of the deprivations complained of
21
     herein, and have condoned or been deliberately indifferent to such conduct.
22

23                                     Fourth Cause of Action
           (Plaintiffs Gamez, Swartz, Brislan, Rodriguez, Verduzco, Thomas, Smith, Parsons,
24               Chisholm, and Polson; Plaintiff Arizona Center for Disability Law; and
                         Mental Health Subclass v. Defendants Ryan and Pratt)
25
                                (42 U.S.C. § 1983; Eighth Amendment)
26
              146.   By their policies and practices described herein, Defendants subject

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 1   Plaintiffs Gamez, Swartz, Brislan, Rodriguez, Verduzco, Thomas, Smith, Parsons,
 2
     Chisholm, and Polson, and the Mental Health Subclass to a substantial risk of serious
 3
     harm and injury from inadequate mental health care. These policies and practices have
 4

 5   been and continue to be implemented by Defendants and their agents, officials,

 6   employees, and all persons acting in concert with them under color of state law, in their
 7
     official capacities, and are the proximate cause of the Plaintiffs’ and the Mental Health
 8
     Subclass’s ongoing deprivation of rights secured by the United States Constitution under
 9

10   the Eighth Amendment.

11         147.   Defendants have been and are aware of all of the deprivations complained of
12
     herein, and have condoned or been deliberately indifferent to such conduct.
13
                                       Fifth Cause of Action
14     (Plaintiffs Gamez, Swartz, Brislan, Rodriguez, Verduzco, Thomas, Smith, and Polson;
15            and Plaintiff Arizona Center for Disability Law; and Isolation Subclass v.
                                     Defendants Ryan and Pratt)
16                             (42 U.S.C. § 1983; Eighth Amendment)
17
           148.   By their policies and practices described herein, Defendants subject
18
     Plaintiffs Gamez, Swartz, Brislan, Rodriguez, Verduzco, Thomas, Smith, and Polson, and
19

20   the Isolation Subclass to a substantial risk of serious harm and injury from inadequate

21   physical exercise, inadequate nutrition, inadequate mental health treatment, and conditions
22
     of extreme social isolation and environmental deprivation. These policies and practices
23
     have been and continue to be implemented by Defendants and their agents, officials,
24

25   employees, and all persons acting in concert with them under color of state law, in their

26   official capacities, and are the proximate cause of the Plaintiffs’ and the Isolation


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 1   Subclass’s ongoing deprivation of rights secured by the United States Constitution under
 2
     the Eighth Amendment.
 3
            149.    Defendants have been and are aware of all of the deprivations complained of
 4

 5   herein, and have condoned or been deliberately indifferent to such conduct.

 6   ///
 7
                                      PRAYER FOR RELIEF
 8
            150.    Plaintiffs and the classes they represent have no adequate remedy at law to
 9

10   redress the wrongs suffered as set forth in this complaint. Plaintiffs have suffered and will

11   continue to suffer irreparable injury as a result of the unlawful acts, omissions, policies,
12
     and practices of Defendants Ryan and Pratt, as alleged herein, unless Plaintiffs and the
13
     classes they represent are granted the relief they request. The need for relief is critical
14

15   because the rights at issue are paramount under the United States Constitution and the

16   laws of the United States.
17
            151.    WHEREFORE, the named plaintiffs and the classes they represent request
18
     that this Court grant them the following relief:
19

20          A.      Declare that the suit is maintainable as a class action pursuant to Federal

21   Rule of Civil Procedure 23(a) and 23(b)(1) and (2);
22
            B.      Adjudge and declare that the acts, omissions, policies, and practices of
23
     Defendants, and their agents, employees, officials, and all persons acting in concert with
24

25   them under color of state law or otherwise, described herein are in violation of the rights

26   of prisoner Plaintiffs and the classes they represent under the Cruel and Unusual


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 1   Punishments Clause of the Eighth Amendment, which grants constitutional protection to
 2
     the Plaintiffs and the class they represent;
 3
            C.      Preliminarily and permanently enjoin Defendants, their agents, employees,
 4

 5   officials, and all persons acting in concert with them under color of state law, from

 6   subjecting prisoner Plaintiffs and the Plaintiff Class to the illegal and unconstitutional
 7
     conditions, acts, omissions, policies, and practices set forth above.
 8
            D.      Order Defendants and their agents, employees, officials, and all persons
 9

10   acting in concert with them under color of state law, to develop and implement, as soon as

11   practical, a plan to eliminate the substantial risk of serious harm that prisoner Plaintiffs
12
     and members of the Plaintiff Class suffer due to Defendants’ inadequate medical, mental
13
     health, and dental care, and due to Defendants’ isolation policies. Defendants’ plan shall
14

15   include at a minimum the following:

16               1. Staffing: Staffing shall be sufficient to provide prisoner Plaintiffs
                    and the Plaintiff Class with timely access to qualified and competent
17
                    clinicians who can provide routine, urgent, emergent, and specialty
18                  health care;

19               2. Access: Policies and practices that provide timely access to health
                    care;
20

21               3. Screening: Policies and practices that reliably screen for medical,
                    dental, and mental health conditions that need treatment;
22
                 4. Emergency Response: Timely and competent responses to health
23                  care emergencies;
24
                 5. Medication and Supplies: Timely prescription and distribution of
25                  medications and supplies necessary for medically adequate care;

26               6. Chronic Care: Timely access to competent care for chronic diseases;


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 1               7. Environmental Conditions: Basic sanitary conditions that do not
                    promote the spread or exacerbation of diseases or infections,
 2
                    including but not limited to a smoke-free environment;
 3
                 8. Mental Health Treatment: Timely access to necessary treatment for
 4                  serious mental illness, including medication, therapy, inpatient
                    treatment, suicide prevention, and suicide watch;
 5

 6               9. Quality Assurance: A regular assessment of health care staff,
                    services, procedures, and activities designed to improve outcomes,
 7                  and to identify and correct errors or systemic deficiencies;
 8               10. Isolation: Prohibition of confinement of prisoner Plaintiffs and the
 9                   Isolation Subclass under conditions of social isolation and sensory
                     deprivation that put prisoners at substantial risk of serious physical
10                   and mental harm. Providing prisoner Plaintiffs and the Isolation
                     Subclass with necessary nutrition and regular outdoor exercise to
11
                     preserve their physical and mental health.
12
            E.      Award Plaintiffs the costs of this suit, and reasonable attorneys’ fees and
13
     litigation expenses pursuant to 42 U.S.C. § 1988, and other applicable law;
14

15          F.      Retain jurisdiction of this case until Defendants have fully complied with
16   the orders of this Court, and there is a reasonable assurance that Defendants will continue
17
     to comply in the future absent continuing jurisdiction; and
18
            G.      Award such other and further relief as the Court deems just and proper.
19

20
     Dated: March 22, 2012                        ACLU FOUNDATION OF ARIZONA
21

22                                                By:      /s/ Daniel J. Pochoda
                                                         Daniel J. Pochoda
23                                                       James Duff Lyall
24

25

26



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 1                                            Donald Specter (Cal. 83925)*
                                              Alison Hardy (Cal. 135966)*
 2                                            Sara Norman (Cal. 189536)*
                                              Corene Kendrick (Cal. 226642)*
 3                                            PRISON LAW OFFICE
                                              1917 Fifth Street
 4                                            Berkeley, CA 94710
                                              Telephone: (510) 280-2621
 5                                            dspecter@prisonlaw.com
                                              ahardy@prisonlaw.com
 6                                            snorman@prisonlaw.com
                                              ckendrick@prisonlaw.com
 7
                                              *Application for pro hac vice pending
 8
                                              David C. Fathi (Wash. 24893)*
 9                                            Amy Fettig (D.C. 484883) *
                                              ACLU NATIONAL PRISON
10                                            PROJECT
                                              915 15th St. N.W., 7th Floor
11                                            Washington, D.C. 20005
                                              Telephone: (202) 548-6603
12                                            dfathi@npp-aclu.org
                                              afettig@npp-aclu.org
13
                                              *Application for pro hac vice pending
14
                                              Daniel C. Barr (SBA 010149)
15                                            Jill L. Ripke (SBA 024837)
                                              James A. Ahlers (SBA 026660)
16                                            Kirstin T. Eidenbach (SBA 027341)
                                              John H. Gray (SBA 028107)
17                                            Thomas D. Ryerson (SBA 028073)
                                              Matthew B. Du Mée (SBA 028468)
18                                            PERKINS COIE LLP
                                              2901 N. Central Ave., Suite 2000
19                                            Phoenix, AZ 85012-2788
                                              Telephone: (602) 351-8000
20                                            dbarr@perkinscoie.com
                                              jripke@perkinscoie.com
21                                            jahlers@perkinscoie.com
                                              keidenbach@perkinscoie.com
22                                            jhgray@perkinscoie.com
                                              tryerson@perkinscoie.com
23
                                              mdumee@perkinscoie.com
24

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 1
                                              Caroline Mitchell (Cal. 143124)*
 2                                            Douglas Roberts (Cal. 264451)*
                                              JONES DAY
 3                                            555 California St., 26th Floor
                                              San Francisco, CA 94104
 4                                            Telephone: (415) 875-5712
                                              cnmitchell@jonesday.com
 5                                            douglasroberts@jonesday.com
 6                                            *Application for pro hac vice pending
 7                                      Attorneys for Plaintiffs Victor Parsons,
                                        Shawn Jensen, Stephen Swartz, Dustin
 8                                      Brislan, Sonia Rodriguez, Christina
                                        Verduzco, Jackie Thomas, Jeremy Smith,
 9                                      Robert Gamez, Maryanne Chisholm, Desiree
                                        Licci, Joseph Hefner, Joshua Polson, and
10                                      Charlotte Wells, on behalf of themselves and
                                        all others similarly situated
11
                                        ARIZONA CENTER FOR DISABILITY
12                                       LAW
13
                                        By:     /s/ Jennifer Alewelt
14                                            Jennifer Alewelt (SBA 027366)
                                              Ruth Szanto (SBA 029073)
15                                            5025 East Washington St. Suite 202
                                              Phoenix, AZ 85034
16                                            Telephone (602) 274-6287
                                              jalewelt@azdisabilitylaw.org
17                                            rszanto@azdisabilitylaw.org
18                                     Attorneys for Plaintiff Arizona Center for
                                        Disability Law
19

20

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 1                              CERTIFICATE OF SERVICE
 2

 3                I hereby certify that on March 22, 2012, I electronically transmitted the

 4   attached documents to the Clerk’s Office using the CM/ECF System.

 5
                                                    /s/ Gloria Torres
 6

 7

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